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                       UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF TEXAS
                            AMARILLO DIVISION

 STATE OF TEXAS, ET AL.,
       PLAINTIFFS,

 V.                                      NO. 2:24-CV-86-Z

 THE UNITED STATES OF AMERICA, ET AL.,
      DEFENDANTS.

                  PLAINTIFFS’ MOTION FOR STAY OF AGENCY ACTION
                          AND PRELIMINARY INJUNCTION
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                                             INTRODUCTION
        In 1972, Congress enacted Title IX, which provides that “[n]o person in the United States

shall, on the basis of sex, be excluded from participation in, be denied the benefits of, or be subjected

to discrimination under any education program or activity receiving Federal financial assistance.” 20

U.S.C. § 1681(a).
        Through an exercise in notice-and-comment rulemaking ordered by President Biden, the U.S.

Department of Education (the “Department”) has attempted to effect radical social change in our

Nation’s schools by purporting to “interpret” Title IX to prohibit discrimination based on sexual

orientation and gender identity. Stymied in its attempts to implement this agenda through informal

agency guidance, and unable to amend Title IX through the legislative process, the Department has

now formally amended the Code of Federal Regulations. Nondiscrimination on the Basis of Sex in Educ.

Programs or Activities Receiving Fed. Fin. Assistance, 89 Fed. Reg. 33,474 (Apr. 29, 2024) (to be codified at

34 C.F.R. pt 106) (the “Final Rule”). The Final Rule tells States and other regulated parties to ignore

biological sex or face enforcement actions and the loss of federal education funding.

        Contrary to the Department’s assertions, the Supreme Court’s decision in Bostock v. Clayton

County, 590 U.S. 644 (2020), does not require—or even allow—the reinterpretation of “on the basis

of sex” to include to sexual orientation and gender identity. Bostock held only that terminating an

employee “simply for being homosexual or transgender” constitutes discrimination “because of …
sex” under Title VII. Id. at 649–51, 655 (quoting 42 U.S.C. § 2000e-2(a)(1)). The Court “assum[ed]”

that the term “sex” means “biological distinctions between male and female,” id. at 655, and it made

clear that its decision did not “sweep beyond Title VII to other federal or state laws that prohibit sex

discrimination” or address other issues not before the Court such as “sex-segregated bathrooms,

locker rooms, and dress codes.” Id. at 681; see also id. at 669 (“We agree that homosexuality and

transgender status are distinct concepts from sex.”).

        In addition, the Final Rule promises to repeat the disaster that was the Department’s ill-advised

2011 Dear Colleague Letter, which had a detrimental impact on publicly funded education across the

country, including in Texas. The Final Rule walks back many of the constitutional safeguards issued



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by the Trump Administration to ensure that students accused of harassment have access to a fair

hearing. At the same time, the Final Rule redefines harassment to include constitutionally protected

activity. Not only does this put Texas schools in a no-win situation—where adherence to the

Constitution risks the loss of federal funds—but students and faculty risk having their futures upended

merely for refusing to go along with the Biden Administration’s radical social agenda.

        The Final Rule violates the Administrative Procedure Act (APA). 5 U.S.C. § 706. It is

substantively unlawful because its purported “interpretations” of Title IX squarely conflict with the

text of that statute. Title IX, by its plain text, defines “sex” as “one sex” that is male or female. See 20

U.S.C. § 1681(a)(5) (describing those institutions which have a policy of admitting “only students of

one sex”). The Department, furthermore, engaged in arbitrary-and-capricious decisionmaking when

promulgating these regulations because it failed to define the amorphous concepts of “gender identity”

and “sexual orientation,” failed to adequately consider all relevant factors, and failed to adequately

explain its reversal of past policies.

        Title IX does not apply to discrimination based on sexual orientation or gender identity. But

even if those concepts were protected against discrimination by Title IX, the Final Rule’s provisions

do not faithfully implement such protections because they mark as unlawful school policies that do

not discriminate based on those grounds—instead, the Final Rule requires schools to discriminate based

on sexual orientation and gender identity by allowing single-sex programs and facilities but requiring

opposite-sex access to them for only those individuals purporting to have a transgender identity.

        Texas and two Private Plaintiffs employed at the University of Texas seek preliminary relief

to prevent irreparable injury from the Final Rule before it goes into effect August 1, 2024. The Court

should postpone the effective date of the Final Rule under the stay provision of the APA. 5 U.S.C. §

705. It should also preliminarily enjoin the application and enforcement of the Final Rule against

Texas, including its instrumentalities, agencies, and political subdivisions. Preliminary injunctive relief

should also preclude Defendants from interpreting, applying, or enforcing Title IX as prohibiting

discrimination on the bases of sexual orientation or gender identity.

        As indicated in the certificate of conference, Defendants are unable at this time to state


                                                     2
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whether or not they oppose this motion.

                                         BACKGROUND
        A. Early Interpretations of Title IX adopted a biology-based approach.
         The Department’s predecessor agency 1 first issued regulations implementing Title IX in 1975.

See 34 C.F.R. § 106. These regulations treated sex as a binary, referring multiple times to “one sex,”

especially versus “the other sex,” using the phrase “both sexes,” and referencing “boys and girls” and

“male and female teams.” See, e.g., 34 C.F.R. §§ 106.33, 106.34(a)(3), 106.36(c), 106.37(a)(3), 106.41(c),

106.51(a)(4), 106.58(a), 106.60(b), 106.61; see also 34 C.F.R. pt. 86 (1975).

        This makes sense, as Title IX’s test and structure presuppose sexual dimorphism—requiring

equal treatment for each sex. See, e.g., Neese v. Becerra, No. 2:21-cv-163-Z, 2022 WL 1265925, at *12

(N.D. Tex. Apr. 26, 2022) (Kacsmaryk, J.) (“Title IX presumes sexual dimorphism in section after

section, requiring equal treatment for each ‘sex.’”)

        Indeed, at the time of its enactment, the term “sex” in Title IX referred to a person’s

immutable biological sex—male or female. See Webster’s Third New International Dictionary (1966)

(“One of the two divisions of organic, especially human beings, respectively designated male or

female.”); American Heritage Dictionary (1969) (“a. The property or quality by which organisms are

classified according to their reproduction functions. b. Either of two divisions, designated male and

female, of this classification.”); Webster’s New World Dictionary (1972) (“[E]ither of the two

divisions, male or female, into which persons, animals, or plants are divided, with reference to their

reproductive functions.”).

        The structure of Title IX underscores that “sex” means biological sex—not gender identity or

any other distinct concept. The statute explicitly permits educational institutions to maintain separate

living facilities for the different sexes. 20 U.S.C. § 1686. This provision only makes sense if “sex” refers

to the male-female binary and the associated physiological differences. Indeed, Senator Bayh

emphasized that Title IX permitted “differential treatment by sex” when necessary, such as “in sport


         1 See Nondiscrimination on the Basis of Sex Under Federally Assisted Education Programs and Activities, 40

Fed. Reg. 24, 128 (Jun. 4, 1975) (codified at 45 C.F.R. pt. 86).



                                                        3
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facilities or other instances where personal privacy must be preserved.” 118 Cong. Rec. 5807 (Feb. 28,

1972) (Statement of Sen. Birch Bayh). 2

         While Title IX generally prohibits discrimination based on biological sex, it recognizes

situations where differentiation is appropriate. For instance, it exempts single-sex organizations like

fraternities, sororities, the Boy Scouts of America, and Boy or Girl conferences to maintain their

exclusivity. 20 U.S.C. § 1681(a)(6)-(7). Traditional single-sex schools and certain religious schools are

also exempt and may limit membership to one sex. 20 U.S.C. § 1681(a)(3), (5)).

          The early implementing regulations in 1975 recognized that differential treatment was

sometimes necessary to ensure equal opportunities based on biological differences. These regulations,

which remain in effect as of now, 3 acknowledged that Title IX did not prohibit all differential
treatment based on sex but aimed to provide equal opportunities for both sexes despite biological

differences. Title IX and its regulations reflect Congress’s policy decision to promote equal educational

opportunities for both sexes while not disregarding biological differences or mandating identical

treatment of males and females in all circumstances. For instance, female college attendance and

participation in athletics have soared since Title IX’s enactment. See Adams v. Sch. Bd. of St. Johns Cnty.,

57 F.4th 791, 818–19 (11th Cir. 2022) (Lagoa, J., concurring)).

          For decades, the Department operated under the basic premise that “sex” means the

         2 Title IX is full of examples of “sex” being referred to as binary:


    •               The statute exempts a public undergraduate institution with a historic “policy of admitting only students
         of one sex.” 20 U.S.C. § 1681(a)(5) (emphasis added).
    •             Certain organizations whose memberships have “traditionally been limited to persons of one sex.” 20 U.S.C.
         § 1681(a)(6) (emphasis added).
    •               “Father-son or mother-daughter activities,” so long as similar opportunities provided for “one sex” are offered
         to “the other sex.” (20 U.S.C. § 1681(a)(8) (emphasis added).
    •       Scholarships associated with participation in a beauty pageant “limited to individuals of one sex only.” (20 U.S.C.
         § 1681(a)(9) (emphasis added).


         Title IX’s explicit exclusions for sex-specific organizations further underscore this understanding. See, e.g., 20
U.S.C. § 1681(a)(6) (authorizing certain groups to remain limited to one sex, including fraternities and sororities).
        3 See, e.g., 34 C.F.R. § 106.41(b)-(c) (allowing single-sex teams and requiring recipients to provide “equal athletic

opportunity for members of both sexes”).



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biological male-female binary. In its 1997 guidance clarifying that Title IX covers same-sex sexual

harassment, the Department affirmed that “both male and female students are protected from sexual

harassment … even if the harasser and the person being harassed are members of the same sex.”

Sexual Harassment Guidance: Harassment of Students by School Employees, Other Students, or Third Parties, 62

Fed. Reg. 12,034, 12,039 (Mar. 13, 1997). The same guidance stated that “Title IX does not prohibit

discrimination on the basis of sexual orientation,” id. at 12,036, because “sex” refers to the status of

being male or female, not to one’s heterosexual or homosexual orientation, or “gender identity.”

         B. The Obama Administration tries to redefine “sex” to include gender identity.
         Following the presidential transition in January 2009, activists launched an aggressive

campaign lobbying Congress and the White House to recognize gender identity as a protected class

under federal civil-rights laws. Those early lobbying efforts focused on democratically enacted laws.

In October 2009, for example, Congress passed hate-crime legislation that included “gender identity”

and “sexual orientation” as independently protected characteristics alongside other protected traits

like race, religion, and national origin. 18 U.S.C. § 249(a)(2).

         In 2013, Congress considered a bill to extend Title IX to gender identity. According to the

findings of that proposed law, congressional action was necessary because “federal statutory

protections expressly address discrimination on the basis of race, color, sex, religion, disability, and

national origin” but “do not expressly include ‘sexual orientation’ or ‘gender identity.’” To end

discrimination based on actual or perceived sexual orientation or gender identity in public schools, and for other purposes,

H.R. 1652, 113th Cong. (2013). The bill failed.

         Tellingly, the same year that it rejected the bill to expand Title IX, Congress reauthorized the

Violence Against Women Act, and, in the process, amended the law to prohibit recipients of federal

grants from discriminating “on the basis” of “sex” or “gender identity” or “sexual orientation.” See 34

U.S.C. § 12291(b)(13)(A). Right after listing “sex,” “gender identity,” and “sexual orientation” as

distinct concepts, the law emphasizes that “nothing in this paragraph shall prevent any … program or

activity from consideration of an individual’s sex” if “sex segregation or sex-specific programming is necessary




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to the essential operation of [the] program.” Id. §12291(b)(13)(B) (emphasis added). And today, section

12291 also prohibits “female genital mutilation or cutting,” which it defines in explicitly biological

terms. See id. § 12291(a)(15) (incorporation definition of female genital mutilation in 18 U.S.C. § 116).

           During the Obama Administration, the Department issued its misguided 2011 Dear Colleague

Letter and 2014 Questions and Answers on Title IX Sexual Violence. See Russlynn Ali, U.S. Dept. of

Educ.,         Dear       Colleague      Letter:    Sexual       Violence      (Apr.       4,      2011),

https://www2.ed.gov/about/offices/list/ocr/letters/colleague-201104.pdf; Catherine E. Lhamon,

U.S. Dept. of Educ., Questions & Answers on Title IX & Sexual Violence (Apr. 29, 2014),

https://www2.ed.gov/about/offices/list/ocr/docs/qa-201404-title-ix.pdf.

           These guidance documents asserted—for the first time—that “Title IX’s sex discrimination

prohibition extends to claims of discrimination” based solely on “gender identity.” Questions & Answers

on Title IX & Sexual Violence, at 5 (2014).

           The Dear Colleague Letter and 2014 Questions and Answers had a detrimental impact on

publicly funded education nationwide, including in Texas. Not only did the two guidance documents

introduce significant confusion over academic institutions’ obligations under Title IX, but they also

created incentives for academic institutions to violate students’ constitutional rights in order to avoid

incurring liability. To offer some context, before 2011, the number of lawsuits filed against universities

for failing to provide due process in Title IX cases averaged one per year—by 2019, over 100 such

lawsuits were filed in that year alone. See Taylor Mooney, How Betsy DeVos plans to change the rules for

handling        sexual      misconduct        on   campus,       CBS        NEWS          (Nov.       24,

2019), https://www.cbsnews.com/news/title-ix-sexual-misconduct-on-campus-trump-

administration-changing-obama-rules-cbsn-documentary/.

           Although neither underwent notice-and-comment rulemaking, the two guidance documents

put recipients in a no-win situation where either conforming or failing to conform to the guidance

documents could expose them to significant risk of litigation.

           Twice in the past decade, Congress has considered legislation to amend Title IX to apply to

gender identity. See, e.g., H.R. 1652, 113th Cong. (2013); S. 439, 114th Cong. (2015). Yet “Congress


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has not amended the law to state as much”; so “it is questionable,” to put it mildly, “whether the

Secretary can alter the term ‘sex’ by administrative fiat.” Neese, 2022 WL 1265925, at *13.

        As the failed attempts to amend Title IX piled up, so did the pressure from outside groups

demanding that the government change Title IX through unilateral executive action. In May 2016, the

Department of Education issued another Dear Colleague Letter, this time expanding Title IX obligations

to transgender students (the “2016 Guidance”). The 2016 Guidance informed federally funded

educational institutions that the Department would “treat a student’s gender identity as the student’s

sex for purposes of Title IX and its implementing regulations.” Catherine E. Lhamon & Vanita Gupta,

U.S. Dep’ts of Educ. & Justice, 2016 Dear Colleague Letter on Title IX and Transgender Students, at 2 (May

13,                                    2016),                                    https://www2.ed.gov/

about/offices/list/ocr/letters/colleague-201605-title-ix-transgender.pdf?utm_name=.

        The 2016 Guidance further informed schools that any attempt to restrict shower, bathroom,

or locker-room use according to biological sex would be unlawful. Id. at 3–4. Schools were also warned

that failing to “use pronouns and names consistent with a student’s gender identity” would constitute

unlawful harassment under Title IX. Id. at 2–3.

        Thirteen states led by Texas sued the federal government, alleging that the 2016 Guidance was

unlawful under the APA. The Northern District of Texas agreed and issued a preliminary injunction,

concluding that the Department’s purported interpretive guidance “failed to comply with” the APA

by “contradicting the existing legislative and regulatory texts” and “was likely contrary to law.” Texas

v. United States, 201 F. Supp. 3d 810, 815, 816 n.4, 836 (N.D. Tex. 2016).

        C. The Trump Administration rescinds the Obama Administration guidance.
        In a decisive shift from previous policies, the Trump Administration rescinded the Obama-

era gender identity guidance in February 2017, and the lawsuit was voluntarily dismissed. Pls.’ Notice

of Voluntary Dismissal, Texas v. United States, No. 7:16-cv-00054-O, 2016 WL 7852331, (N.D. Tex.

Mar. 3, 2017), ECF No. 128. This action marked a return to the pre-2014 interpretation of Title IX,

where the prohibition on sex-based discrimination was understood to mean biological sex, not gender




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identity. This return to the longstanding interpretation was formalized through a Dear Colleague

Letter issued by the U.S. Department of Justice and U.S. Department of Education, Office for Civil

Rights in February 2017, explicitly withdrawing the previous administration’s expansive views on

gender identity under Title IX. Sandra Battle & T.E. Wheeler, II, U.S. Dep’ts of Educ. & Justice, Dear

Colleague       Letter       on       Gender        Identity       Guidance        (Feb.        22,        2017),

https://www2.ed.gov/about/offices/list/ocr/letters/colleague-201702-title-ix.pdf.

        It soon became apparent, however, that the withdrawal could not repair the damage caused

by the two guidance documents on its own. See Candice Jackson, U.S. Dept. of Educ., Dear Colleague

Letter (Sept. 22, 2017), https://www2.ed.gov/about/offices/list/ocr/letters/colleague-title-ix-

201709.pdf. As the Department later explained, neither action “require[ed] or result[ed] in wholesale

changes to the set of expectations guiding recipients’ responses to sexual harassment.”

Nondiscrimination on the Basis of Sex in Educ. Programs or Activities Receiving Fed. Fin. Assistance, 85 Fed. Reg.

30,026, 30,029 (May 19, 2020) (to be codified at 34 C.F.R. pt 106) (the “2020 Rule”). Hence, many, if

not most, recipients “chose not to change their Title IX policies and procedures” as a precaution

against stigma and liability. Id.

        The Department, therefore, initiated a round of notice-and-comment rulemaking, after which

it published a comprehensive set of regulations governing recipients’ obligations to prevent sex

discrimination in their programs and activities. See 85 Fed. Reg. 30,026. The 2020 Rule took effect on

August 14, 2020.

        The 2020 Rule addressed at least three significant ambiguities in the earlier guidance. First, the

2020 Rule clearly demarcated, for the first time, the outer boundaries of recipients’ obligations and

liability under Title IX with respect to sexual harassment. Second, the 2020 Rule clarified the standard

under which conduct or speech could constitute sex-based harassment—namely, that it be “so severe,

pervasive, and objectively offensive that it effectively denies a person equal access.” 85 Fed. Reg. at

30,574. Third, the 2020 Rule reaffirmed the primacy of the U.S. Constitution and adopted multiple

safeguards to ensure that Title IX enforcement protected the rights and interests of all parties to a

disciplinary proceeding.


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        For example, the 2020 Rule also addressed the question of whether discrimination “on the

basis of sex” encompassed sexual orientation and gender identity. Although the Department declined

to define “sex” in the 2020 Rule because it was not necessary to effectuate the rules and would have

consequences outside of the proposed rulemaking, it noted that “Title IX and its implementing

regulations include provisions that presuppose sex as a binary classification,” and further observed

that “provisions in the Department’s current regulations, which the Department did not propose to

revise in this rulemaking, reflect this presupposition.” 85 Fed. Reg. at 30,178.

         And the Department further amended its regulations to clarify the definition of “sexual

harassment” for purposes of Title IX enforcement. See 85 Fed. Reg. 30,026. The Department adopted

the Supreme Court’s definition of harassment in Davis v. Monroe Cnty. Bd. of Educ., 526 U.S. 629 (1999),

that is, “conduct that is so severe, pervasive, and objectively offensive that it effectively denies a person

equal access to education.” 85 Fed. Reg. at 30,036.

         Finally, the 2020 Rule strengthened the rights of students accused of sexual harassment under

Title IX. It required schools to, among other things, provide the accused with written notice of the

charges against him, 85 Fed. Reg. at 30,571, let a representative accompany him to disciplinary

hearings, id. at 30,577, and let that counsel cross-examine witnesses. Id. It specified that schools could

choose between a preponderance or clear-and-convincing standard to adjudicate accusations of Title

IX misconduct, but only if they used the same standard for “all formal complaints of sexual

harassment,” including “formal complaints against employees.” Id. at 30,575.

        D. The Supreme Court decides Bostock .
         In June 2020, shortly after the Department issued the 2020 Rule, the Supreme Court decided

Bostock v. Clayton Cnty., Georgia, 590 U.S. 644 (2020). The Court held that Title VII’s prohibition on sex

discrimination prevents an employer from firing an employee “for being homosexual or transgender.”

Id. at 651–52. The Court interpreted Title VII’s prohibition against discrimination “because of” sex

using a “but-for” causation standard, concluding that “sex plays an unmistakable and impermissible

role in [a] discharge decision” based on on employee’s homosexuality or transgender status. Id. at 660.




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          But Bostock specifically held that “homosexuality and transgender status are distinct concepts

from sex,” id. at 669, and it assumed throughout its opinion that “sex” in Title VII referred “only to

biological distinctions between male and female,” id. at 655 (emphasis added). The Court refrained from

extending its decision to other statutes like Title IX and declined to “prejudge” whether it would

“sweep beyond Title VII” or impact “sex-segregated bathrooms, locker rooms, and dress codes.” Id.

at 681.

          In January 2021, the Department’s Office of the General Counsel issued a memo clarifying

that Bostock did not affect the 2020 Rule. It reiterated that Title IX’s “longstanding construction of the

term ‘sex’ to mean biological sex, male or female” aligns with the ordinary public meaning of “sex” at

the time of the statute’s enactment. Reed D. Rubinstein, Memorandum for Kimberly M. Richey, Acting

Assistant Sec’y of the Office for Civil Rights, re: Bostock v. Clayton Cty., 140 S. Ct. 1731 (2020) (Jan. 8, 2021)

at            1,           10,             https://www2.ed.gov/about/offices/list/ocr/correspondence

/other/ogc-memorandum-01082021.pdf. The memo also emphasized that “schools must consider

students’ biological sex when determining whether male and female student-athletes have equal

opportunities to participate.” Id. at 7.

          E. The Biden Administration initiates efforts to redefine “sex” under Title IX.
          Despite the well-reasoned analysis of the Department itself that Bostock changed nothing in

the Title IX context and that “sex” means “biological sex,” the Biden Administration, like the Obama

Administration before it, once again moved to redefine “sex” as including gender identity.

          From the start, President Biden opposed the 2020 Rule, stating on the campaign trail that he

would order the Department to put a “quick end” to it if elected. See Joe Biden, Statement on the Trump

Administration     Rule    to    Undermine     Title    IX     &     Campus      Safety    (May      6,    2020),

https://medium.com/@JoeBiden/statement-by-vice-president-joe-biden-on-the-trump-

administration-rule-to-undermine-title-ix-and-e5dbc545daa. Shortly after taking office, President

Biden issued an executive order declaring that Bostock applied across all federal law, maintaining that

under Bostock’s reasoning, laws prohibiting sex discrimination—including Title IX of the Education




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Amendments of 1972—should also prohibit discrimination based on gender identity or sexual

orientation, “so long as the laws do not contain sufficient indications to the contrary.” Exec. Order

No. 13,988, 86 Fed. Reg. 7,023 (Jan. 20, 2021). Federal agencies were directed to review their

regulations and develop plans to align them with the executive order.

           Following this directive, on June 22, 2021, the Department issued guidance interpreting Title

IX to prohibit discrimination based on sexual orientation and gender identity. Enf’t of Title IX of the

Educ. Amend. of 1972 with Respect to Discrimination Based on Sexual Orientation & Gender Identity in Light of

Bostock v. Clayton County, 86 Fed. Reg. 32,637 (June 22, 2021) (“2021 Guidance”). The Department

claimed that this interpretation aligned with Title IX’s purpose of “ensuring equal opportunity and

protecting individuals from the harms of sex discrimination” Id. at 32,639. This was followed by

additional guidance from the Department stating its intent to “fully enforce Title IX to prohibit

discrimination based on sexual orientation and gender identity in education programs and activities

that receive federal financial assistance.” Suzanne B. Goldberg, Dear Educator letter on Confronting Anti-

LGBTQI+             Harassment        in        Schools,       at       2        (June         23,        2021),

https://www2.ed.gov/about/offices/list/ocr/correspondence/stakeholders/educator-202106-

tix.pdf.

           Like the 2016 Guidance, the enforcement of the 2021 Guidance was swiftly enjoined. In

Tennessee v. United States Dep’t of Educ., 615 F. Supp. 3d 807 (E.D. Tenn. 2022), the Eastern District of

Tennessee enjoined the Department from enforcing the 2021 guidance, ruling that it likely acted

unlawfully by creating “new rights and obligations” without following the APA’s notice-and-comment

requirements. Id. at 842.

           The court identified two main flaws in the 2021 Guidance: (1) It was inconsistent with existing

regulations. Title IX allows for sex-separation in some cases, but the Department’s guidance

“appear[ed] to suggest such conduct will be investigated as unlawful discrimination,” id. at 839; and

(2) it “create[d] rights for students and obligations for regulated entities not to discriminate based on

sexual orientation or gender identity that appear nowhere in Bostock, Title IX, or its implementing regulations.”

Id. (emphasis added).


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        F. The Biden Administration publishes the Proposed Rule to replace the 2020 Rule
           and overhaul Title IX.
         Undeterred, in July 2022, the Department issued a notice of proposed rulemaking, reiterating

its position from the 2021 Guidance and introducing other significant revisions to Title IX.

Nondiscrimination on the Basis of Sex in Educ. Programs or Activities Receiving Fed. Fin. Assistance, 87 Fed. Reg.

41,390 (July 12, 2022) (the “Proposed Rule”).

        The Proposed Rule sought to formally rescind the 2020 Rule’s biology-based definition of

sex—based almost entirely on the supposed applicability of Bostock. 87 Fed. Reg. at 41,410, 41,531. It

also dropped the 2020 Rule’s adoption of the Davis standard for actionable sexual harassment, id. at

41,568–69, and removed procedural protections for students accused of misconduct, id. at 41,485,

41,488, 41,497, 41,577–78.

        The Department received over 240,000 comments on the Proposed Rule—overwhelmingly

negative. 89 Fed. Reg. at 33,477. Texas, through its Attorney General and Governor, submitted

multiple comments before the 60-day comment period for the Proposed Rule closed on September

12, 2022. App.028–112.

         In its comments, Texas highlighted the burden the Proposed Rule would impose on the State,

as well as the risk the regulations posed to constitutional rights. The comments explained that the

combination of expanding recipients’ obligation to respond to sex discrimination, while also lowering

the threshold of what fell within that description, meant, in practice, that recipients would hyper-

police interactions among students, parents, and faculty for fear of being found noncompliant if

individuals affiliated with the recipient failed to recognize each person’s highly individualized,

potentially fluid, and unverifiable gender identity.

        The Proposed Rule also weakened procedural protections for students accused of sexual

harassment, such as the right to present witnesses, inspect all evidence, and have a live hearing. Id. at

41,485, 41,497, 41,577. It also abandoned the Davis standard for actionable sexual harassment, instead

adopting a broader, less stringent definition. Id. at 41,568–69.

         The comments added that much of Proposed Rule departed from the Department’s past




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policies, yet the changes were neither adequately explained nor grounded in the text, structure, or

purpose of Title IX. As an example, the Department hinged its redefinition of sex to include sexual

orientation and gender identity almost entirely on the U.S. Supreme Court’s opinion in Bostock. Yet as

Texas pointed out in its comments, App.034, Bostock involved an unrelated statute that was enacted

nearly a decade earlier, pursuant to a different constitutional power, and did not address questions

involving “sex segregated bathrooms, locker rooms, and dress codes”—all of which appeared in the

Proposed Rule.

        G. The Final Rule is published in substantially the same form as the Proposed Rule.
        Despite these deficiencies, the Biden Administration pressed on. On April 29, 2024, the

Department published its Final Rule, dramatically reshaping Title IX by redefining what constitutes

sex discrimination and broadening the definition of prohibited “harassment.” 89 Fed. Reg. 33,474.

        Despite strong opposition and over 240,000 public comments—mostly negative—the

Department published the Final Rule largely unchanged from the Proposed Rule. Set to take effect

on August 1, 2024, it expands schools’ liability risks and Title IX obligations by expanding the

definition of sex discrimination and harassment beyond what Title IX’s text and purpose originally

intended.

        The Final Rule redefines Title IX’s prohibition on sex discrimination to include

“discrimination on the basis of sex stereotypes, sex characteristics, pregnancy or related conditions,

sexual orientation, and gender identity.” 89 Fed. Reg. at 33,476. It asserts that it preempts all state and

local laws conflicting with its terms and applies to any school “program or activity,” regardless of

whether the activity occurs within the school or even within the United States. Id. at 33,885–86.

        While the Final Rule allows schools to maintain sex-segregated programs, activities, and

facilities, it prohibits schools from enforcing these distinctions in a way that causes “more than de

minimis harm”—but the Final Rule simultaneously contends that prohibiting a person from

participating in education programs or activities consistent with their gender identity inherently inflicts

more than de minimis harm. Id. at 33,816, 33,819–20. Thus, the Final Rule threatens to withhold




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federal funding from schools that deny students access to bathrooms and locker rooms based on their

claimed gender identity or maintain dress codes based on biological sex.

        The Final Rule claims that it does not affect athletics programs in schools because there is

currently a regulation that allows sex-separated sports teams. 89 Fed. Reg. at 33,817–18, 33,839. Yet

that was also true for bathrooms and locker rooms, but the Final Rule declares that invalid when

exceptions are not made for those who identify as transgender. See id. at 33,819–21. The Final Rule

claims sex-separate athletics does not suffer the same fate because of the Javits Amendment, 88 Stat.

484, 612 (1974), and because Congress reviewed the regulation that explicitly allows them before it

went into effect. See 89 Fed. Reg. at 33,816–17. But the Javits Amendment only applies to

“intercollegiate athletic activities,” 88 Stat. at 612, and the bathroom regulation was part of the same

set of regulations as the one relating to sports and also not disapproved by Congress. See 40 Fed. Reg.

24,128, 24,141; 34 C.F.R. § 106.33. And the Department fails to address its own position taken in

litigation that Title IX forbids categorically limiting sports teams to one biological sex. See B.P.J. v. W.

Virginia, ECF 42, No. 2:21-cv-316 (S.D. W. Va. Jun. 17, 2021); United States Amicus Br. 24–27, B.P.J.

v. W.V. State Bd. of Educ., Nos. 23-1078, 23-1130 (4th Cir. Apr. 3, 2023).

         The Final Rule also prohibits schools from even seeking confirmation of a student’s gender

identity, deeming such inquiries as causing “more than de minimis harm.” 89 Fed. Reg. at 33,819. So

schools cannot require documentary evidence confirming a student’s gender dysphoria diagnoses prior

to permitting their participation in sex-segregated activities or facilities of the opposite sex.

         The Final Rule also broadens the definition of harassment by lowering the standard set by the

2020 Rule, moving away from the Supreme Court’s standard in Davis and instead defining sex-based

harassment as “subjectively and objectively offensive” and “sufficiently severe or pervasive to limit or

deny a student’s ability to participate in or benefit from a recipient’s education program or activity.”

Id. at 33,516. This new standard does not require harassment to be both severe and pervasive, meaning

a single serious incident or a pattern of non-severe incidents might qualify.

         The Final Rule also expands the definition of harassment to cover conduct that is

“subjectively and objectively” offensive from the complainant’s position—so referring to a


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transgender-identifying male using male pronouns instead of female pronouns could be considered

harassment based on the individual’s eccentric, subjective viewpoint.

                                                        STANDARD
         The issuance of a preliminary injunction is appropriate when the movant shows (1) a likelihood

of success on the merits, (2) that it is likely to suffer irreparable harm in the absence of preliminary

relief, (3) that the balance of equities tips in its favor, and that (4) an injunction is in the public interest.

Valley v. Rapides Parish School Bd., 118 F.3d 1047, 1051 (5th Cir. 1997) (citing Roho Inc. v. Marquis, 902
F.2d 356, 358 (5th Cir. 1990)). The final two elements merge when the opposing party is the

government. 4 Nken, 556 U.S. at 435.
         Section 705 of the APA, meanwhile, “authorizes reviewing courts to stay agency action

pending judicial review.” 5 Affinity Healthcare Servs., Inc. v. Sebelius, 720 F. Supp. 2d 12, 15 n.4 (D.D.C.

2010) (citing 5 U.S.C. § 705). “Motions to stay agency action pursuant to these provisions are reviewed

under the same standards used to evaluate requests for interim injunctive relief.” Id. (citing Cuomo v.

U.S. Nuclear Regulatory Comm’n, 772 F.2d 972, 974 (D.C. Cir. 1985)); see also Texas v. EPA, 829 F.3d

405, 435 (5th Cir. 2016) (granting stay of agency action under 5 U.S.C. § 705 and applying preliminary

injunction factors).

         While “[a] stay [of an agency action] pending appeal certainly has some functional overlap with

an injunction, particularly a preliminary one … [due to both having] the practical effect of preventing



         4 This Court should consider this motion for preliminary relief without waiting for Defendants to produce an

administrative record for the Final Rule. See, e.g., Franciscan All., Inc. v. Burwell, 7:16-cv-10, 2016 WL 9281524, at *3 (N.D.
Tex. Nov. 1, 2016) (O’Connor, J.) (setting a briefing schedule “to consider the pending motion for preliminary injunction”
despite “no administrative record” and deferring consideration of summary judgment so that the court could consider the
“administrative record in the normal course of this litigation”); Doe v. Trump, 3:19-cv-1743, 2020 WL 1853657, at *3 (D.
Or. Apr. 13, 2020) (noting that the court relied on a “partial record produced before the preliminary injunction” and then
set a later deadline “to supplement the administrative record” after the preliminary injunction decision).
           5 The stay provision of the APA provides that: “On such conditions as may be required and to the extent

necessary to prevent irreparable injury, the reviewing court, including the court to which a case may be taken on appeal
from or on application for certiorari or other writ to a reviewing court, may issue all necessary and appropriate process to
postpone the effective date of an agency action or to preserve status or rights pending conclusion of the review proceedings.” 5
U.S.C. §705 (emphasis added).




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some action before the legality of that action has been conclusively determined,” Nken v. Holder, 556

U.S. 418, 428 (2009), “a stay achieves this result by temporarily suspending the source of authority to

act—the order or judgment in question—not by directing an actor’s conduct.” Id. at 428–29.

          “In the same way that a preliminary injunction is the temporary form of a permanent

injunction, a stay [under section 705] is the temporary form of vacatur.” All. for Hippocratic Med. v. U.S.

Food & Drug Admin., 78 F.4th 210, 254 (5th Cir. 2023). “Under 5 U.S.C. § 705, [courts] may, under

‘certain conditions[,] ... and to the extent necessary to prevent irreparable injury, ... issue all necessary

and appropriate process to postpone the effective date of an agency action or to preserve status or

rights pending conclusion of the review proceedings.” Wages & White Lion Invs., L.L.C. v. United States

Food & Drug Admin., 16 F.4th 1130, 1143 (5th Cir. 2021) (quoting 5 U.S.C. § 705).

          Texas and the Private Plaintiffs easily satisfy these standards.

                                                 ARGUMENT
          This Court should postpone the Final Rule’s effective date (i.e., stay it), and preliminarily enjoin

Defendants from interpreting, applying, or enforcing Title IX to apply to discrimination based on

sexual orientation or gender identity. For either form of relief, the relevant factors are the same: likely

success, irreparable harm, the balance of equities, and the public interest. Plaintiffs satisfy all factors

for both forms of preliminary relief.

I.     Texas is Likely to Prevail on the Merits.
          The likelihood of success on the merits “is arguably the most important” factor for preliminary

relief. Career Colleges & Sch. of Texas v. United States Dep’t of Educ., 98 F.4th 220, 239 (5th Cir. 2024); see
also Mock v. Garland, 75 F.4th 563, 587 n.60 (5th Cir. 2023) (“There is authority” that “likelihood of

success on the merits ... is the most important of the preliminary injunction factors.”).

          The Final Rule violates the APA. It unlawfully redefines discrimination on the basis of sex to

include sexual orientation and gender identity, exceeds the limits of how the Supreme Court has

defined sexual harassment, and removes protections for those accused of misconduct. It does all of

this contrary to the text, structure, and purpose of Title IX, and through arbitrary-and-capricious




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decioonamking. The Final Rule is “arbitrary,” “capricious,” “not in accordance with law,” “in cexcess

of statutory … authority,” and “contrary to constitutional right.” 5 U.S.C. § 706(2).

        A. The Rule illegally redefines Title IX’s prohibition on “sex” discrimination.
        The Final Rule’s application of Title IX’s anti-discrimination mandate to sexual orientation

and gender identity is both contrary to law and arbitrary and capricious.

        1. The Final Rule illegally redefines “sex.”

        In deciding whether the Final Rule is consistent with Title IX, “[w]e start where we always do:

with the text of the statute.” Career Colleges & Sch. of Texas, 98 F.4th at 240 (quoting Bartenwerfer v.

Buckley, 598 U.S. 69, 74 (2023)). “Other sources that are helpful in determining what Congress meant

when it passed [Title IX in 1972] include contemporaneous dictionaries, related statutes, and past

statements of the Department.” Id.

        For almost a half century since its enactment, both the Department and recipients have

understood Title IX’s prohibition on sex discrimination to refer to a person’s biological sex.

Notwithstanding this history, the Final Rule redefines Title IX’s prohibition on sex discrimination to

include “discrimination on the basis of sex stereotypes, sex characteristics, pregnancy or related

conditions, sexual orientation, and gender identity.” 89 Fed. Reg. at 33,886.

        The Final Rule threatens to withhold federal funding from schools that do not allow students

access to “restrooms and locker rooms” and comply with any “appearance codes (including dress and

grooming codes)” based on gender identity. See, e.g., 89 Fed. Reg. at 33,816. The Final Rule dictates

that a school violates Title IX’s nondiscrimination mandate if a transgender student is denied access

to a bathroom or locker room of the opposite biological sex. See, e.g., 89 Fed. Reg. at 33,818.

                            a. The Final Rule wrongly relies on Bostock .
        The Department lacks the legal justification to initiate and support such radical departures in

the interpretation of Title IX. It rests its redefinition of sex discrimination almost entirely on the U.S.

Supreme Court’s opinion in Bostock. But that case’s “reasoning applies only to Title VII, as Bostock

itself and [] subsequent cases make clear.” L.W. ex rel. Williams v. Skrmetti, 73 F.4th 408, 420 (6th Cir.




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2023) (Sutton, C.J.).

        How does Title IX differ from Title VII? To start, Title VII prohibits employment

discrimination “because of such individual’s … sex[],”42 U.S.C. § 2000e- 2(a), but Title IX prohibits

education discrimination “on the basis of sex,” 20 U.S.C. § 1681(a). The statutes thus contain different

language with different results for different contexts. Neese v. Becerra, 640 F. Supp. 3d 668, 675–84

(N.D. Tex. 2022) (Kacsmaryk, J.) (Bostock and its reasoning do not apply to Title IX). And “Bostock …

was limited only to Title VII itself” and “d[id] not stretch to [other statutes].” Pelcha v. MW Bancorp,

Inc., 988 F.3d 318, 324 (6th Cir. 2021); see also Adams v. Sch. Bd. of St. Johns County, 57 F.4th 791, 808

(11th Cir. 2022) (en banc) (holding that Bostock’s reasoning applies only to Title VII, and describing

the argument that it applies to Title IX as “faulty”).

        Defendants conflate Title IX’s prohibition of discrimination “on the basis of sex,” 20 U.S.C.

§ 1681(a), with Title VII’s prohibition on discrimination “because of … sex,” 42 U.S.C. § 2000e-

2(a)(1). But the Bostock court ruled that the phrase “because of” in Title VII mandated a sweeping but-

for causation requirement. Bostock, 590 U.S. at 656. The U.S. Supreme Court has tendered no such

ruling regarding the phrase “on the basis of sex” as used in Title IX. 20 U.S.C. § 1681(a). To the

contrary. “On the basis of sex” references to one’s “biological sex”—it does not mean does not mean

“on the basis of gender identity” or “on the basis of sexual orientation.”

        Indeed, even though Title IX provides that recipients of federal funding for education

programs or activities shall not discriminate “on the basis of sex,” 20 U.S.C. § 1681(a), Title IX

explicitly authorizes separation based on sex in certain situations, including “maintaining separate

living facilities for the different sexes,” 20 U.S.C. § 1686, and specified single-sex educational

institutions, organizations, activities, and scholarship awards, 20 U.S.C. § 1681(a). These exceptions

presume—and only make sense in the context of—biological sex as the relevant category.

        In any event, the Final Rule misinterprets the holding of Bostock and the definition of “sex”

discrimination adopted there. Bostock does not hold that discrimination on account of “sexual

orientation” or “gender identity” is discrimination on account of “sex”; rather, it holds only that Title

VII’s prohibition on “sex” discrimination prohibits employers from firing or refusing to hire


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individuals “for being homosexual or transgender.”

        Bostock explains that an employer who fires an employee for conduct or personal attributes

that it would tolerate in a person of the opposite biological sex has made the employee’s sex the “but-

for cause” of his discharge, and that (in the Court’s view) automatically violates the statutory command

of Title VII. The Court explained:
         If the employer fires the male employee for no reason other than the fact he is attracted
         to men, the employer discriminates against him for traits or actions it tolerates in his
         female colleague. Put differently, the employer intentionally singles out an employee
         to fire based in part on the employee’s sex, and the affected employee’s sex is a but-
         for cause of his discharge. Or take an employer who fires a transgender person who
         was identified as a male at birth but who now identifies as a female. If the employer
         retains an otherwise identical employee who was identified as female at birth, the
         employer intentionally penalizes a person identified as male at birth for traits or actions
         that it tolerates in an employee identified as female at birth. Again, the individual
         employee’s sex plays an unmistakable and impermissible role in the discharge decision.
Bostock, 590 U.S. at 660.

        Bostock also makes clear that an employer does not violate Title VII or engage in “sex”

discrimination if it fires an employee for conduct or personal attributes that it would not tolerate in

an employee of the opposite biological sex:
       Take an employer who fires a female employee for tardiness or incompetence or
       simply supporting the wrong sports team. Assuming the employer would not have
       tolerated the same trait in a man, Title VII stands silent.
Id.

        Bostock does not prohibit employers (or anyone else) from discriminating on account of sexual

orientation or gender identity, so long as they do not engage in “sex” discrimination when doing so.

For example, Bostock does not prohibit discrimination against bisexual students or individuals, so long

as the employer regards bisexual behavior or orientation as equally unacceptable in a man or a woman.

See, e.g., Bostock, 590 U.S. at 660; see also id. at 658 (“[F]iring [a] person for actions or attributes it would

tolerate in an individual of another sex … discriminates against that person in violation of Title VII.”).

Discrimination against bisexuals is certainly discrimination on account of “sexual orientation,” but it

is not discrimination on account of “sex.” Bostock allows discrimination against homosexual or

transgender individuals, so long as it is done pursuant to rules or policies that apply equally to both



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sexes and would lead to the same result if the individual’s biological different were different. A teacher

or professor, for example, may refuse to accommodate a transgender or nonbinary student’s demands

to be referred to by the singular pronoun “they”—so long as the teacher or professor refuses demands

for such pronoun usage on equal terms from a biological male or a biological woman, and would

equally refuse to honor the transgender or nonbinary student’s request if that student’s biological sex

were different.

        Even if the Department considers policies or practices of that sort to be regarded as

discrimination against transgender or non-binary individuals, they do not constitute “sex”

discrimination as defined in Bostock because the policies apply equally to both biological sexes. See

Bostock, 590 U.S. at 669 (“We agree that homosexuality and transgender status are distinct concepts

from sex.”). The Final Rule wrongly equates discrimination on account of sexual orientation and

gender identity with “sex” discrimination. Yet there are many ways in which entities covered by Title

IX could discriminate against homosexual, bisexual, transgender, or non-binary individuals without

engaging in the kind of “sex”–based discrimination described in Bostock.

        The Final Rule further conflicts with the reasoning of Bostock because that case did not find

that all sex-based distinctions were prohibited. Bostock repeatedly cited the Court’s earlier decision in

Oncale v. Sundowner Offshore Servs., Inc., 523 U.S. 75 (1998), as authority. Oncale explained that Title VII

“does not reach genuine but innocuous differences in the ways men and women routinely interact

with members of the same sex and of the opposite sex,” and “requires neither asexuality nor

androgyny in the workplace.” Id. at 75, 81.

        The Oncale Court noted the central concern of Title VII was not every aspect of interaction in

the workplace but “whether members of one sex are exposed to disadvantageous terms or conditions

of employment to which members of the other sex are not exposed.” Id. at 80 (quoting Harris v. Forklift

Sys., Inc., 510 U.S. 17, 25 (1993) (Ginsburg, J., concurring)).

        The Second Circuit—in one of the cases consolidated with and affirmed in Bostock—also

favorably cites Oncale as “arguably” supporting the view that “sex-specific bathroom and grooming

policies [do not] impose disadvantageous terms or conditions” because not all distinctions of “‘sexual


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content or connotations’ rise to the level of discrimination.” Zarda v. Altitude Express, Inc., 883 F.3d

100, 119 & n.16 (2d Cir. 2018) (en banc) (quoting Oncale, 523 U.S. at 79–80)); see also West v. Radtke, 48

F.4th 836, 849 (7th Cir. 2022) (finding Title VII would not be violated by preventing transgender

prison guard from performing strip searches of opposite-sex inmates).

        Relatedly, Bostock also cautioned that “Title VII does not concern itself with everything that

happens ‘because of’ sex,” Bostock, 590 U.S. at 657—only discrimination that is “inextricably” related

to sex is forbidden; distinctions “related to sex in some vague sense” or having only “some disparate

impact on one sex or the other” are not reached by the statute. Id. at 660–61.

        Bostock did not overturn any Supreme Court precedents, instead resting on those dating to the

1970s. It also did not disturb lower-court precedent that has long applied those same precedents.

“[T]the Court relied in Bostock on the same well established Title VII principles that animated the

outcome in those prior decisions [of lower courts that applied the same key precedents, so those

courts] effectively anticipated Bostock’s rationale.” Maner v. Dignity Health, 9 F.4th 1114, 1124 (9th Cir.

2021) (Bea, J.) (explaining Bostock did not overturn decades of lower-court precedents rejecting

“paramour preference” theory of liability).

        This is consistent with Willingham v. Macon Tel. Publ’g Co., 507 F.2d 1084 (5th Cir. 1975) (en

banc), which upheld sex-specific grooming codes under Title VII. Willingham applied Phillips v. Martin

Marietta Corp., 400 U.S. 542 (1971) one of the key cases the Supreme Court relied on in Bostock. The

Second Circuit in Zarda— which relied on the same key precedents that the Supreme Court would

later adopt in Bostock (Martin Marietta and L.A. Dep’t of Water & Power v. Manhart, 435 U.S. 702

(1978))—favorably cited Willingham as consistent with its analysis. Zarda, 883 F.3d at 118–19. In short,

Bostock did not nullify the Supreme Court’s longstanding acceptance of differences between the sexes.

It did not question any longstanding precedent beyond the narrow question before it: whether “[a]n

employer who fires an individual merely for being gay or transgender defies the law.” Bostock, 590 U.S. at

683 (emphasis added).

                            b. The Final Rule’s expansion of Title IX’s scope into sexual
                               orientation and gender identity violates the Clear Statement Rule



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                                 and the Major Questions Doctrine.
        Even if there were ambiguity on whether Title IX adopts the Final Rule’s definition of

discrimination “on the basis of sex,” that ambiguity must be resolved in favor of the State because

conditions on federal funding must be stated clearly. Adams, 57 F.4th at 815.

        Congress enacted Title IX pursuant to its powers under the Spending Clause. Davis, 526 U.S.

at 640 (“[W]e have repeatedly treated Title IX as legislation enacted pursuant to Congress’ authority

under the Spending Clause[.]”). If Congress intends to impose a condition on the grant of federal

funding under Title IX, it must do so with “a clear voice,” “unambiguously.” Pennhurst State Sch. &

Hosp. v. Halderman, 451 U.S. 1, 17 (1981).

        This clear statement rule is required when imposing a condition on federal funding because

“legislation enacted pursuant to the spending power is much in the nature of a contract: in return for

federal funds, the States agree to comply with federally imposed conditions.” Adams, 57 F.4th at 815

(citing Pennhurst, 451 U.S. at 17). “Recipients cannot knowingly accept the deal with the Federal

Government unless they would clearly understand the obligations that would come along with doing

so.” Cummings v. Premier Rehab Keller, PLLC, 596 U.S. 212, 219 (2022) (internal quotations omitted).

        The use of the word “sex” in Title IX did not put educational institutions and programs on

notice that by accepting funding from the federal government for educational services and activities,

they are prohibited from providing bathrooms or other facilities for the two sexes. See Adams, 57 F.4th

at 816. That is clear not only from historical practice but from Defendants’ longstanding interpretation

of Title IX and its implementing regulations, which “include provisions that presuppose sex as a binary

classification.” 85 Fed. Reg. at 30,178.

        Similarly, courts will not assume that Congress has assigned questions of “deep economic and

political significance” to an agency unless Congress has done so expressly. See King v. Burwell, 576 U.S.

473, 486 (2015); FDA v. Brown & Williamson Tobacco Corp., 529 U.S. 120, 160 (2000). “We expect

Congress to speak clearly when authorizing an agency to exercise powers of vast economic and

political significance.” Ala. Ass’n of Realtors v. Dep’t of Health & Hum. Servs., 141 S. Ct. 2485, 2489 (2021)

(quoting Utility Air Regulatory Grp. v. EPA, 573 U.S. 302, 324 (2014)). “Congress typically [does not]



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use oblique or elliptical language to empower an agency to make a radical or fundamental change to a

statutory scheme …We presume that Congress intends to make major policy decisions itself, not leave

those decisions to agencies.” Id. (cleaned up); see also FDA v. Brown & Williamson Tobacco Corp., 529

U.S. 120,160 (2000).

       The Final Rule will affect all elementary schools, secondary schools, postsecondary

institutions, and other recipients of federal financial funds with far-reaching social and economic

impact. Yet Title IX’s language cannot be plausibly read to smuggle in a power for federal agencies to

overturn the “unremarkable—and nearly universal—practice[s]” such as separating bathrooms by

biological sex, common in States’ governance of schools. Adams, 57 F.4th at 796.

                           c. In the alternative, if Bostock applies to Title IX, the Final Rule
                              violates it.
       In addition, even if Title IX covered discrimination on the bases of sexual orientation and

gender identity, the Final Rule interprets Title IX’s anti-discrimination provision as requiring

accommodations for gender identity even though Title IX—unlike Title VII’s prohibition on religious

discrimination and the disability discrimination provisions of the Rehabilitation Act and the Americans

with Disabilities Act—has no accommodation requirement.

       The Final Rule requires exceptions from admittedly lawful sex-segregated policies and facilities

for those whose gender identity is transgender—and only for them, as schools would still be allowed

to prevent biological males who do not identify as women from entering female-only spaces and

programs. See 89 Fed. Reg. at 33,818 (under Final Rule, “sex separation in certain circumstances,

including in the context of bathrooms or locker rooms, is not presumptively unlawful sex

discrimination” but when a school “denies a transgender student access to a sex-separate facility or

activity consistent with that student’s gender identity, this would violate Title IX’s general

nondiscrimination mandate”); id. at 33,887 (to be codified at 34 C.F.R. § 106.31: where Title IX permits

“different treatment or separation in a manner that discriminates on the basis of sex,” the Final Rule

requires “sex” to be determined by gender identity); id. at 33,820 (reasoning that non-transgender

students are not harmed by being denied access to sex-separated facilities such as restrooms and locker



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rooms, so only transgender students are protected by the new 34 C.F.R. § 106.31(a)(2) that prohibits

“more than de minimis harm”).

        The types of school policies targeted by the Final Rule do not discriminate based on gender

identity. While Bostock held that “discrimination based on homosexuality or transgender status

necessarily entails discrimination based on sex,” 590 U.S. at 669, the Final Rule instead addresses “the

converse question: whether discrimination on the basis of sex necessarily entails discrimination based

on transgender status.” Adams v. Sch. Bd. of St. Johns County, 3 F.4th 1299, 1332 (11th Cir. 2021) (Pryor,

C.J., dissenting), rev’d by Adam., 57 F.4th 791.

        The Final Rule never addressed the question of whether the policies “impose[d]

disadvantageous terms or conditions” based on sex. The Second Circuit ruling affirmed in Bostock left

this question open but indicated the serious possibility that such policies were not covered by Title

VII even if discrimination based on sexual orientation and gender identity were forbidden. Zarda, 883

F.3d at 118–19 (favorably citing on this ground Oncale, 523 U.S. 75, and Willingham, 507 F.2d 1084).

This distinction is alluded to in Bostock itself. See 590 U.S. at 681 (after noting that its reasoning does

not settle the issue of “bathrooms, locker rooms, or anything else of the kind,” referring to Title VII’s

limitation to “distinctions or differences in treatment that injure protected individuals”; while “firing

employees surely counts other policies and practices might or might not qualify as unlawful

discrimination”) (cleaned up). But if such policies are covered by Title IX, then the Final Rule violates

the prohibition on treating people differently based on gender identity.

        Consider standard bathroom norms. All biological males, regardless of their gender identity,

may use the men’s bathroom; all biological females, regardless of their gender identity, may use the

women’s bathroom. “Separating bathrooms based on sex dates back as far as written history will take

us,” long before the concept of gender identity even existed. Adams, 3 F.4th at 1328 (Pryor, C.J.,

dissenting) (cleaned up), rev’d, 57 F.4th 791. These policies do not even consider “gender identity,”

and therefore cannot be described as discriminating based on that category. Cf. Raytheon Co. v.

Hernandez, 540 U.S. 44, 54 n.7 (2003) (“[I]f no part of the hiring decision turned on [the applicant’s]

status as disabled, he cannot, ipso facto, have been subject to disparate treatment”). “Separating


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bathrooms by sex treats people differently on the basis of sex … [but] the mere act of determining an

individual’s sex, using the same rubric for both sexes, does not treat anyone differently on the basis

of sex.” Adams, 3 F.4th at 1325–26 (Pryor, C.J., dissenting), rev’d, 57 F.4th 791.

        The Final Rule purports to allow sex-specific bathrooms, locker rooms, and showers

(explicitly) and sex-specific dress codes and pronoun usage policies (implicitly) as a general matter.

But it then “tr[ied] to work around [those concessions] with a linguistic device.” Doe 2 v. Shanahan, 917

F.3d 694, 723 (D.C. Cir. 2019) (Williams, J., concurring in the result) (criticizing plaintiffs’ concession

that military may have sex-specific standards while arguing that “sex” should be determined by

subjective gender identity). It is no consolation to tell schools they can still have sex-specific

bathrooms (or dress codes or pronoun usage) so long as they allow exceptions for individuals who

subjectively identify as the opposite sex.

        If schools may have separate facilities or policies for men and women, as the Final Rule

concedes, then they may also require compliance with those policies. Cf. Antonin Scalia & Bryan A.

Garner, Reading Law: The Interpretation of Legal Texts § 30, at 192–93 (2012) (“[W]henever a power is

given by a statute, everything necessary to making it effectual or requisite to attaining the end is

implied.”) (citation omitted). The same is true for sex-specific dress codes or allowing the use of

gendered pronouns as part of standard English in schools; such policies do not classify based on the

gender identity of anyone but disregard that concept altogether, exactly as Bostock requires. Indeed, to

allow schools to have sex-specific policies, but then require them to have exemptions only for

transgender employees or students, violates Bostock because such a rule discriminates based on gender

identity.


        The Final Rule’s transformation of “sex” is arbitrary and capricious.


        Under the APA, a court must “hold unlawful and set aside agency action” that is “arbitrary,”

“capricious,” or “an abuse of discretion.” 5 U.S.C. § 706(2)(A). This means if an agency action is not

“reasonable and reasonably explained,” it must be vacated. Wages & White Lion Invs.L.L.C v. FDA, 16

F.4th 1130, 1136 (C.A.5, 2021) (quoting FCC v. Prometheus Radio Project, 592 U.S. 414, 423 (2021)); see


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Encino Motorcars, LLC v. Navarro, 579 U.S. 211, 224 (2016) (“[A] lack of reasoned explication for a

regulation that is inconsistent with the Department’s longstanding earlier position results in a rule that

cannot carry the force of law.”).

        “Normally, an agency rule would be arbitrary and capricious if the agency has relied on factors

which Congress has not intended it to consider, entirely failed to consider an important aspect of the

problem, offered an explanation for its decision that runs counter to the evidence before the agency,

or is so implausible that it could not be ascribed to a difference in view or the product of agency

expertise.” Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto Ins. Co., 463 U.S. 29, 43 (1983).

Defendants did not engage in reasoned decision-making, but instead acted arbitrarily and capriciously

in issuing the Final Rule.

        To summarize a few flaws, the Rule is internally inconsistent, fails to define key terms,

disregards evidence submitted, makes decisions that are counter to the evidence before the

Department, fails to properly balance all the relevant interests that would be affected by the

Department’s changed position, and routinely offers “conclusory statements” rather than real

responses to valid and serious concerns submitted by commenters. See Louisiana v. U.S. Dep’t of Energy,

90 F.4th 461, 473 (5th Cir. 2024).

        The Final Rule fails arbitrary-and-capricious review because the Department neglected to offer

a reasoned explanation for the Final Rule’s departure from the historic understanding—including

within previous Title IX regulations—of Title IX’s prohibition on “sex” discrimination. The

Department noted during its 2020 regulations that “Title IX and its implementing regulations include

provisions that presuppose sex as a binary classification.” It further observed that provisions in the

Department’s then-existing regulations reflected that premise. 85 Fed. Reg. at 30,178.

        Instead of confronting this history, the Department deflected by referencing the Supreme

Court’s decision in Bostock, but that is insufficient given the textual and structural differences between

the two statutes and the express disclaimer in Bostock that its holding did not apply to other laws. The

Department compounds the problems with its analysis by dismissing multiple court opinions,

including from this Court, that recognized “Bostock … was limited only to Title VII itself” and “does


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not stretch to [other statutes].” Pelcha, 988 F.3d at 324; Neese, 640 F. Supp. 3d 668; compare 89 Fed. Reg.

at 33,806.

        In addition, when an agency changes its position, the agency must “recognize[ ] the change,

reason[ ] through it without factual or legal error, and balance[ ], all relevant interests affected by the

change.” Louisiana, 90 F.4th at 469. The Department, however, refused to dutifully consider the

reliance interest Texas and other recipients had with respect to the Department’s historic

understanding of Title IX.

        Nor did the Department address the States’ practical concerns about authenticating gender

identity or the risk that the Department’s policy would pose to student safety and privacy. The Final

Rule also fails the test of reasoned decision-making by failing to address how its gender-identity

mandate applies to “nonbinary,” “bisexual,” or “questioning individuals.”The Department had before

it significant evidence that permitting individuals who identify as transgender to use bathrooms or

locker rooms associated with their gender identity, as opposed to their biological sex, subjected

students to distress and embarrassment as well as an increased risk of harassment or assault. Yet, its

response simply stated that the Department “does not agree.” 89 Fed. Reg.at 33,820. This dismissal

of commenters’ substantive concerns characterized the entire rulemaking process.

        The Final Rule also fails arbitrary-and-capricious review because it is contradictory, failing to

reasonably explain treating like circumstances differently. It declines to apply its gender-identity

mandate to “living facilities” by pointing to the statutory exceptions in 20 U.S.C. § 1681(1)-(9). 89

Fed. Reg. at 33,816, 33,818–19. But it applies its mandate to “toilet, locker room, and shower

facilities,” permitted to be sex-separated by rule, 34 C.F.R. § 106.33.

        The Final Rule’s cost-benefit analysis is also wholly deficient. The Final Rule assumes the

average time to read and understand the final, 423-page regulation will be 4 hours for a Title IX

Coordinator and lawyers, which defies belief. See 89 Fed. Reg at 33,867. The Rule’s other cost-and-

benefit assumptions are equally absurd, including its failure to include any construction costs based

on Defendants’ refusal to acknowledge the Final Rule will require schools to modify bathrooms and

locker rooms. See, e.g., 89 Fed. Reg. at 33,876.


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        The Final Rule also fails to recognize how its standard regarding gender-identity discrimination

undercuts its separate ongoing rulemaking process specific to athletics. Cf. Portland Cement Ass’n v.

EPA, 665 F.3d 177, 187 (D.C. Cir. 2011) (“an agency must have a similar obligation to acknowledge

and account for a changed regulatory posture the agency creates—especially when the change impacts

a contemporaneous and closely related rulemaking”); Office of Commc’n of the United Church of Christ v.

FCC, 707 F.2d 1413, 1441–42 (D.C. Cir. 1983) (finding it “seriously disturbing” and “almost beyond

belief” that an agency would take rulemaking action undercutting another “concurrent” rulemaking

process).

        Finally, the Department repeatedly failed to adequately consider the effects of its terms on the

States and their reliance interests of over 50 years of Title IX and its regulations. When commentators

raised concerns about preemption, Defendants expressly “decline[d] to opine on how [the Final Rule]

interacts or conflicts with any specific State laws because it would require a fact-specific analysis,” and

instead “refer[red] the public to § 106.6(b), which affirms that a [school’s] obligation to comply with

Title IX and the regulations is not obviated or alleviated by any State or local law.” 89 Fed. Reg. at

33,822. This does not satisfy Defendants’ obligation to “adequately assess reliance interests” or

“reasonably consider[] the relevant issues and reasonably explain[] the decision.” Texas v. Biden, 10

F.4th 538, 552, 555 (5th Cir. 2021).

        B. The Final Rule wrongfully protects abortion.
        The Final Rule also purports to override Texas’s abortion prohibitions. The Final Rule

purports to protect women who abort their unborn children, even when doing so violates State law.

It also purports to protect women who engage in the shipment or receipt of abortion pills and

abortion-related paraphernalia. See 18 U.S.C. § 1461–462. The Final Rule defines “pregnancy or related

conditions” to include “termination of pregnancy.” 89 Fed. Reg. at 33,883 (to be codified at 34 C.F.R.

§ 106.2). The Final Rule stipulates that every recipient of federal funds, including educational

institutions, must treat abortion on the same terms as “any other temporary medical condition.” See

89 Fed. Reg. at 33,887–888 (to be codified at 34 C.F.R. § 106.40(b)(6)(vi)(4) (“[A] recipient must treat




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pregnancy or related conditions in the same manner and under the same policies as any other

temporary medical conditions.”). Accordingly, the Final Rule requires all healthcare plans offered by

every educational institution to cover abortion on the same terms as “any other temporary medical

condition.” Id.

        The Final Rule also requires schools to excuse a student’s absence for “terminat[ing] [her]

pregnancy” even when doing so violates Texas law. See id. This provision of the Final Rule is another

attempt by the Biden Administration to nullify Dobbs v. Jackson Women’s Health Org., 142 S. Ct. 2228,

2242 (2022). The Supreme Court has held that “the Constitution does not confer a right to abortion”

and “does not prohibit the citizens of each State from regulating or prohibiting abortion.” Id. at 2279,

2284.

        In accordance with Dobbs, Texas regulates and prohibits abortions. Under Texas’s Human Life

Protection Act, “[a] person may not knowingly perform, induce, or attempt an abortion.” Tex. Health

& Safety Code § 170A.002. That prohibition does not apply if the woman on whom the abortion is

performed “has a life-threatening physical condition” arising from a pregnancy that places her “at risk

of death or poses a serious risk of substantial impairment of a major bodily function unless the

abortion is performed.” Tex. Health & Safety Code § 170A.002(b)(2). Texas law imposes criminal and

civil penalties for violation of this law. See Tex. Health & Safety Code §§ 170A.004–.005; Tex. Penal

Code § 12.32–.33.

        In addition to the Human Life Protection Act, Texas statutes predating Roe v. Wade also

address the subject of abortion. See Tex. Rev. Civ. Stat. arts. 4512.1–.4, .6 Under those statutes, any

person who causes an abortion is guilty of an offense and shall be confined in a penitentiary. Id. at

4512.1. Moreover, an individual may not act as an accomplice to abortion or an attempted abortion.

Id. at 4512.2–.3. However, it is not an offense if the abortion is performed under “medical advice for

the purpose of saving the life of the mother.” Id. at 45.12.6. The Final Rule purports to preempt

Texas’s laws by requiring schools and professors to protect actions that would otherwise violate State

or federal law. Plaintiffs Bonevac and Hatfield, both of whom are professors at the University of Texas

at Austin, have no intention to accommodate students who obtain an illegal abortion or a purely


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elective abortion, nor do they intend to hire teaching assistants who have violated the abortion laws

of Texas or the federal-law prohibitions on the mailing of abortifacients. See Declarations of Bonevac

and Hatfield at ¶¶ 11, 13, App.10–17.

        C. The Final Rule illegally redefines “sex-based harassment.”
        In direct contradiction to Supreme Court precedent, and in service of the Biden

Administration’s radical political agenda, the Final Rule unlawfully redefines what constitutes “sex-

based harassment” under Title IX. Specifically, the Final Rule now prohibits “[u]nwelcome sex-based

conduct that, based on the totality of the circumstances, is subjectively and objectively offensive and

is so severe or pervasive that it limits or denies a person’s ability to participate in or benefit from the

recipient’s education program or activity.” 89 Fed. Reg. at 33,517 (emphases added). By drafting this

new standard for sex-based harassment, the Final Rule becomes contrary to law and arbitrary and

capricious.


        1. The Final Rule’s unlawful redefinition of sex-based harassment is contrary to law.

        To start, the Final Rule violates the First and Fourteenth Amendments because it imposes

viewpoint-based and content-based restrictions on students and employees affiliated with recipients

and compels public entities, like Texas, to enforce said restrictions at risk of the federal funds.

Specifically, the Final Rule deliberately discards the definition of sexual harassment articulated by the

Supreme Court in Davis and adopted by the Department in its 2020 rulemaking, in favor of a weaker

standard that encompasses wide swaths of constitutionally protected activity.

        The Final Rule accomplishes this because it expands Title IX to cover harassment that’s

“severe or pervasive,” 89 Fed. Reg. at 33,884, rather than “severe and pervasive,” Davis, 526 U.S. at

652–53. And the Final Rule applies even if the harassment merely “limits” a person’s “ability to

participate in or benefit from” a program or activity, 89 Fed. Reg. at 33,884, rather than “denies” a

person “access to the educational opportunities or benefits provided by the school,” Davis, 526 U.S.

at 651–53. Broader still, the rule requires recipients to “promptly and effectively end any sex

discrimination,” regardless whether they were deliberately indifferent to it. See 89 Fed. Reg. at 33,889



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(Proposed 34 C.F.R. §106.44(f)(1)); contra Davis, 526 U.S. at 650–52. As a result, the Final Rule’s new

hostile-environment definition thus covers a single or isolated incident and all negative effects like “a

mere ‘decline in grades,’” a choice to skip class, or a decision not to attend a campus activity. Davis,

526 U.S. at 652–53; accord 89 Fed. Reg. at 33,511 (“[A] complainant must demonstrate some impact

on their ability to participate or benefit from the education program or activity, but the definition does

not specify any particular limits or de-nials.”). And the Final Rule’s new definition would force

students and teachers to, for example, use someone’s “preferred pronouns.” What’s worse, the Final

Rule extends to conduct that occurs online, off campus, outside the United States, or even before the

relevant individuals attended the school. 89 Fed. Reg. at 33,886, 33,527.

        At the same time, the Final Rule expands recipients’ obligations far beyond what Title IX

allows, such as by reinterpreting the word “sex” to include “sexual orientation” and “gender identity.”

Hence, not only does the Final Rule fundamentally rewrite Title IX’s prohibition on sex-based

discrimination, but the failure to affirm a student’s gender identity would constitute “sex-based

harassment” under the new regulations since it could have negative effects that constitute more than

a de minimis harm.

        2. The Final Rule’s unlawful redefinition of sex-based harassment is also arbitrary
           and capricious.
        On top of contravening the law, the Final Rule further fails arbitrary-and-capricious review

because the Department neglected to reasonably consider the constitutional concerns raised by its

new definition of sex-based harassment. Specifically, because the Final Rule thus raises First

Amendment and other constitutional concerns, Defendants acted arbitrarily and capriciously when

they failed to engage in reasoned decisionmaking in addressing these concerns.

        Defendants also acted arbitrarily and capriciously when they failed to reasonably consider the

lose-lose situation the Final Rule places on funding recipients through its illegal redefinition of “sex-

based harassment.” Justice Kennedy warned in his dissent for four Justices that “[o]n college

campuses, and even in secondary schools, a student’s claim that the school should remedy a sexually

hostile environment will conflict with the alleged harasser’s claim that his speech, even if offensive, is



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protected by the First Amendment. In each of these situations, the school faces the risk of suit, and

maybe even multiple suits, regardless of its response.” Davis, 526 U.S. at 682–83 (Kennedy, J.,

dissenting). The majority avoided this problem by stressing the deliberate-indifference requirement to

liability and the stringent definition of actionable harassment. By abandoning the deliberate-

indifference requirement, the Department unravels Davis’s reasoning.

        The Department’s hostile-environment definition is also internally inconsistent, rendering the

rule arbitrary and capricious. It stresses a “totality of circumstances” test that considers, among other

things, “[t]he degree to which the conduct affected the complainant’s ability to access the recipient’s

education program or activity.” 89 Fed. Reg. at 33,884 (34 C.F.R. §106.2). But that factor is in tension

with the Department’s other statement that “sex-based conduct meets the ‘severe or pervasive’

standard of sex-based harassment if it limits or denies a person’s ability to participate in or benefit

from the recipient’s education program or activity.” 89 Fed. Reg. at 33,508. The Department reads

out “severe or pervasive” from its definition. It is not clear why the degree of harm matters if the only

requirement is that the harassment “limits” the individuals’ ability to participate in education, and the

Department provides no reasonable explanation justifying this tension.

        Further, the Department’s action is arbitrary and capricious because it fails to reasonably

address comments on so-called “misgendering.” The Department noted that a commenter raised the

Department’s “recent resolution letter finding that a school district violated Title IX when it failed to

effectively respond to a misgendering of a student.” 89 Fed. Reg. at 33,516. Other commentators also

“urged” the Department to state that “misgendering is a form of sex-based harassment that can create

a hostile environment.” 89 Fed. Reg. at 33,516. Many commentators also raised the notice of proposed

rulemakings seeming approval of the 2016 Dear Colleague Letter, stating that misgendering is

punishable harassment. Rather than address these comments or the 2016 letter, the Department did

not meaningfully engage with either comment or even cite the 2016 letter, but merely stated that the

issue “is necessarily fact-specific” and that “a stray remark, such as a misuse of language, would not

constitute harassment under this standard.” 89 Fed. Reg. at 33,516. The terse statement is hardly

“reasoned decisionmaking.” Michigan v. EPA, 576 U.S. 743, 750 (2015). Commentators put the


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Department on notice of the 2016 letter and the resolution, so the Department was obligated to

address those “relevant authorit[ies]” and explain any “inconsistencies” or differences in position.

Data Mktg. v. United States Dep’t of Labor, 45 F.4th 846,857 (C.A.5 (Tex.), 2022).

        D. The Final Rule illegally changes procedural safeguards in the Title IX grievance
           process.
        For students accused of sex-based harassment, the Title IX grievance process can have life-

altering consequences. At the very least, a finding of guilt places a black mark on a student’s record.

At its most extreme, it can topple any chance a student has at a successful career. Despite these stakes,

the Department has elected to roll back many of due process protections promulgated during the 2020

rulemaking that guaranteed students a fair opportunity to defend themselves. These changes were not

backed by reasoned decision-making. The Department failed to consider how the amended

procedures interacted, first, with each other and, second, with other provisions in the Final Rule that

expand recipients’ liability. The Department also failed to reasonably justify its departure from past

policy or reasonably consider the relevant issues. The changes thesefore represent an arbitrary and

capricious action by the Department and should be enjoin and/or have the effective postponed.

        1. The Department only considered the changes in isolation.

        The Final Rule creates a litigation trap, as explained above. If recipients comply with the

Department’s new regulations, they risk civil rights lawsuits and litigation expenses. If they side with

the constitutional rights of their students and employees, they invite federal or private enforcement

actions, jeapordizing not only their reputation but their access to federal funds. The Department’s

decision to remove or diminish procedural safeguards in the Title IX grievance process exacerbates

this problem. See generally 89 Fed. Reg. 33,891–96 (34 C.F.R. §§ 106.45, 106.46). The 2020 Rule

established a baseline that would pass constitutional muster in most, if not all cases. That baseline

provided recipients cover from accusations that recipients were falling short of their Title IX

obligations if they offered due process protections to those accused of sex-based harassment. By

amending the 2020 Rule, the Department eliminated that safe harbor. This reintroduced uncertainty,

exposing recipients to possible enforcement actions.



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        The Texas Attorney General alerted the Department to this complication during the notice-

and-comment period and explained that the additional exposure to enforcement actions would

pressure recipients, including those in Texas, to revert to the kangaroo courts that plagued Title IX

proceedings prior to the 2020 rulemaking. See App.030–033; Brian A. Pappas, Procedural Convergence, 55

Law & Soc’y Rev. 381, 391 (2021) (concluding that “Universities faced a choice of what constituted

the larger risk: OCR enforcement or civil lawsuits?”). He noted that the 2011 Dear Colleage Letter

bred similar incentives, which resulted in a record number of lawsuits and judgments against public

universities for failing to abide by students’ constutional rights. See App.031; see also Jonathan Taylor,

Milestone: 700+ Title IX/Due Process Lawsuits by Accused Students, Title IX for All (May 11, 2021),

https://titleixforall.com/milestone-700-title-ix-due-process-lawsuits-by-accused-students/.

        Instead of responding to this concern, the Department emphasized that the new standards

gave schools discretion over the procedures they adopted during the grievance process. However, this

assertion is neither accurate nor on point. Not only do many of the changes further restrict recipients’

options, see, e.g., 89 Fed. Reg. 33,893 (34 C.F.R § 106.45(h)(1)) (burden of proof), but the Department

failed to take into account that other parts of the Final Rule push recipients towards a specific

outcome. The Final Rule charges recipients to “promptly and effectively” respond to “conduct that

reasonably may constitute sex discrimination.” 89 Fed. Reg. at 33,888. It then defines sex

discrimination so broadly that recipients would be in violation of their obligations if they did not step

in to “end” even protected activity, “prevent its recurrence, and remedy its effects.” Id. at 33,592; see

supra (discussing rejection of the Davis standard). The combination imposes serious pressure on

recipients to curtail due process rights lest they be found deficient in their response to alleged

harassment.

        In other words, the Department considered the effect of watering down each procedural

protection separately; it did not consider how these procedures would interact with other changes

introduced by the Final Rule. This is not reasoned decisionmaking. The Department must consider

the regulations as a whole if it is to have complete picture of the Final Rule’s benefits and costs. See

State Farm, 463 U.S. at 43. Furthermore, the Texas Attorney General notified the Department that


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the totality of its proposed regulations would incentive recipients to offer the least amount of process

possible. The failure to adequately consider and respond to significant comments received during the

period for public comment demonstrates that the agency’s decision was not based on a consideration

of the relevant factors. See, e.g., Mexican Gulf Fishing Co. v. U.S. Dep't of Com., 60 F.4th 956, 973 (5th Cir.

2023) (citing failure to respond as reason for finding regulation unlawful).

        To make matters worse, the Department did not consider the cumulative effect the diluted

procedures would have on the accused’s ability to offer a meaningful defense. For example, the risk

of bias and unreliable outcomes from the single-investigator model is especially pronounced when the

rule also gives the school officials the power to prosecute even “[i]n the absence of a complaint.” 89

Fed. Reg. 33,889 (34 C.F.R. §106.44(f)(1)(v)). Courts have long recognized that students subject to

disciplinary hearings are entitled to due process. See Goss v. Lopez, 419 U.S. 565,581 (1975). And

although the “specific dictates” of that process may vary depending on the ccircumstances, Mathews v.

Eldridge, 424 U.S. 319, 335 (1976), the grievance process at public institutions must meet a

constitutional minimum, in that it gives students a reasonable and fair opportunity to answer the

charges levied against them. Accordingly, the Department had a duty to assess whether the combined

changes made to Title IX grievance process brought recipients’ due process protections beneath that

threshold. Its failure to do so is evidence of arbitrary-and-capricious rulemaking and violates the APA.

            2. The Department’s reasoning was flawed even when the changes are considered
               one-by-one.
        In addition to its failure to consider the changes the Final Rule made to Title IX’s grievance

process in context, the Department erred when assessing the procedures individually. This is because

the Department, among other things, neglected to adequately explain its rejection of the factual

findings it published following the 2020 rulemaking. The Department at that time understood that

promises of fair process were empty without real procedural and structural safeguards. The Final Rule,

however, retracts many of these practices without ever really addressing the evidence before the




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Department in 2020 or the consequence such revisions have on the accused. To offer a handful of

examples:

        Single Investigator Model: The Final Rule reverses the policy promulgated by the 2020 Rule

and permits recipients to once again adopt the single investigator model, in which a single school

employee—often the Title IX coordinator—adjudicates disciplinary proceedings as prosecutor, judge,

and jury. This change threatens to inject bias into the proceedings. As the Department previously

found, “[I]ndividuals who perform both roles may have confirmation bias and other prejudices that

taint the proceedings, whereas separating those functions helps prevent bias and prejudice from

impacting the outcome.” 85 Fed. Reg. at 30,367. The Department, however, now says this reasoning

from just a few years ago was wrong. 89 Fed. Reg. at 33,857. But when an agency’s “new policy rests

upon factual findings that contradict those which underlay its prior policy,” agencies must “provide a

more detailed justification.” FCC v. Fox Television Stations, Inc., 556 U.S. 502, 515 (2009). The

Department fails to do that here, despite the “obvious” dangers the single investigator model

engenders. Doe v. Brandeis Univ., 177 F. Supp. 3d 561, 606 (D. Mass. 2016).

        The Department attempts to downplay negative ramifications that will result from its policy

by pointing out that the single investigators are instructed by the Final Rule to treat the participants

“equitably” and not be “biased” or have a “conflict of interest.” 89 Fed. Reg. at 33,662–63. However,

these protections are not reasonably connected to the stated concerns. A simple directive to be

unbiased does nothing concrete to protect parties or ensure reliability. And an opportunity to appeal

is no solace to the accused, where a finding of guilt can exact severe monetary and reputational costs

on students, ranging anywhere from expulsion and academic suspension to loss tuition, housing,

scholarships, and job opportunities. See Doe v. Baum, 903 F.3d 575, 582 (6th Cir. 2018) At the very

least, it places a black mark on a student’s record—at its most extreme, it can topple any chance a

student has at a successful career.

        The 2020 Rule eliminated the single investigator because it found that a “follow the law”

directive did not work in practice and real protections were necessary. The Department neither

reasonably addressed the relevant issues nor “provide[d] a more detailed justification” explaining this


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reversal. Fox, 556 U.S. at 515 .

        Notice of Charges: The challenged regulations allow an investigation to begin without any

formal written complaint. The accused need only receive an “oral” statement that a person would

“objectively”understand as a “request” to “investigate.” 89 Fed. Reg. 33,882 (proposed 34 C.F.R. §

106.2). Verbal complaints, however, are often vague and imprecise, making it difficult (if not

impossible) to provide accurate and adequate notice. Perhaps worse, the rule now permits the Title

IX coordinator to initiate a grievance procedure even in “the absence of a complaint or the withdrawal

of any or all of the allegations in a complaint.” Id. at 33,889 (34 C.F.R. § 106.44(f)(1)(v)). The Fianl

Rule thus empowers Title IX coordinators to go beyond their mandatory reporting duties and to police

activities on campus that they think constitute sex discrimination. Given the overall breadth of “sex

discrimination” and “sex-based harassment” under the rule, this provision gives Title IX coordinators

and other employees the power to open investigations and start proceedings based solely on what they

have heard. The Department failed to reasonably address the extraordinary implications of these

changes or reasonably explain why a formal written complaint is unfair, impractical, or unwise.

        Access to Evidence: The Final Rule removes the right of students to inspect all the evidence

against them. Recipients have the option of offering students a mere “description” of the “relevant

and not otherwise impermissible evidence,” unless students go out of their way to request an “equal

opportunity to access the evidence.” 89 Fed. Reg. 33,892 (proposed 34 C.F.R. § 106.45(f)). The

accused, however, has no way of knowing what relevant evidence was missing (or incompletely

summarized in) the report. And because the Final Rule lets the decisionmaker and the investigator be

the same person, the decisionmaker could know and base his decision on information that the parties

never got a fair opportunity to contextualize or challenge. This limited access to the evidence raises

more due-process concerns, which the Department does not reasonably address in its analysis. See,

e.g., Doe v. Purdue Univ., 928 F.3d 652, 663 (7th Cir. 2019); Averett v. Hardy, 2020 WL 1033543, *5–8

(W.D. Ky. Mar. 3, 2020). The Department likewise failed to reasonably explain why providing the

accused the evidence without a request, along with a description, is impractical or unwise and why the

broader scope of evidence available under the 2020 Rule is problematic.


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          Live Cross Examination: The Final Rule eliminates the right to a live hearing at

postsecondary institutions. Even if some form of live hearing is offered, the accused still lacks the

right to directly cross-examine witnesses through a chosen representative. 89 Fed. Reg. at 33895 (34

C.F.R. § 106.46(g)). Setting due process concerns aside, the Department failed to provide a “detailed

justification” for adopting “findings that contradict” the ones underlying the 2020 Rule. Fox, 556 U.S.

at 515. The Department previously found that the alternatives it now champions were problematic, 6

see 85 Fed. Reg. at 30,330–31, and “stifled the value of cross-examination” if, for example, the

recipient “refus[ed] to ask relevant questions posed by a party, chang[ed] the wording of a party’s

question, or refus[ed] to allow follow-up questions.” Id. at 30,313; accord id. at 30,316, 30,330, 30,340.

          Lacking evidence to refute its prior finding, the Department claims that “live hearings with

advisor-conducted cross-examination” can be “burdensome” and these “resources … could have

been spent on other things, including additional training for decisionmakers.” 89 Fed. Reg. at 33732.

But “cheapness alone cannot save an arbitrary agency policy.” Judulang v. Holder, 565 U.S. 42, 64 (2011).

The Department, in any event, does not explain how a single live hearing is more burdensome than

multiple individual meetings with each witness where credibility might be an issue and there are follow-

up questions. 89 Fed. Reg. at 33,894. Nor does the Department reasonably explain why the many

benefits of a live hearing with adversarial cross-examination are outweighed by increased

administrative burdens—an omission all the more striking given the Department’s previous finding

that cross-examination by the parties “appropriately and reasonably balances the truth-seeking

function of” the the grievance process. 85 Fed. Reg. at 30,330.

          Burden of Proof: The Final Rule limits recipients’ discretion to require a higher burden of

proof before punishing the accused under Title IX. The Department lets recipients use a higher

burden of proof (clear and convincing, rather than a preponderance) only if they use that higher


          6 For example, the Department determined that “require[ing] a recipient to step into the shoes of an advocate by

asking each party cross-examination questions designed to challenge that party’s plausibility, credibility, reliability, motives,
and consistency would place the recipient in the untenable position of acting partially (rather than impartially) toward the
parties, or else failing to fully probe the parties’ statements for flaws that reflect on the veracity of the party’s statements.”
Id. at 30,331 (cleaned up).



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 burden “in all other comparable proceedings, including proceedings relating to other discrimination

 complaints.” 89 Fed. Reg. 33,893 (34 C.F.R. § 106.45(h)(1)). Though the Department claims to care

 about “flexibility,” this change is mandatory, and the Department does not provide an adequate

 explanation why it gives recipients less discretion. Additionally, the Department nowhere explains

 what constitutes a “comparable proceedin[g].” Id.; see id. at 33,704 (“declin[ing] to define that term”).

 This uncertainty makes the Department’s rule a de facto ban on the clear-and-convincing-evidence

 standard without ever having to justify such a rule.

           E. The Final Rule illegally expands scope of recipients’ liability beyond the scope of
              the statute.
           The Final Rule’s redefinition of “sex” discrimination is not the only instance where the

 Department attempts to illegally expand when, where, and how recipients must act to remain in

 compliance its regulations. For instance, Title IX limits recipients’ obligations to discrimination that

 occur “under” their “education programs or activities.” 20 U.S.C. § 1681(a); see also id.at § 1687

 (defining programs and activities). This means that the discrimination or harassment “must take place

 in a context subject to the school district's control.” Davis, 526 U.S. at 645. Nevertheless, the Final

 Rule obliges recipients to “promptly and effectively” address “conduct that occurs in a building owned

 or controlled by a student organization,” 89 Fed. Reg. at 33,886 (34 C.F.R. § 106.11), 33,888 (34 C.F.R.

 § 106.44); misconduct occurring off campus (online or otherwise) or even “outside the United States,”

 id.; and activities that occurred before any of the individuals attended the academic, id. at 33,527. The

 Department does not have authority to inflate recipients’ liability beyond the plain text of the statute.

II.     Texas will suffer irreparable harm if the Final Rule takes effect, as will other recipients.
           “To show irreparable injury if threatened action is not enjoined, it is not necessary to

 demonstrate that harm is inevitable and irreparable.” Humana, Inc. v. Avram A. Jacobson, M.D., P.A.,

 804 F.2d 1390, 1394 (5th Cir. 1986). Instead, “[t]he plaintiff need show only a significant threat of

 injury from the impending action, that the injury is imminent, and that money damages would not

 fully repair the harm.” Id. (footnote omitted). “When determining whether injury is irreparable, it is

 not so much the magnitude but the irreparability that counts.” Id. at 433–34 (cleaned up). Irreparable



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injury includes “increased costs of compliance, necessary alterations in operating procedures, and

immediate threats of costly and unlawful adjudications of liability all inflicted by the Rule’s new

provisions.” Career Colleges & Sch. of Texas, 98 F.4th at 235.

        Because the federal government “generally enjoy[s] sovereign immunity for any monetary

damages,” Wages & White Lion Invs., L.L.C., 16 F.4th at 1142, Texas cannot compel the federal

government to reimburse it. Without immediate judicial intervention, the Final Rule will inflict

irreparable harm on Texas, its school systems, and its citizens.

        F. Texas is the object of the Final Rule and faces compliance costs.
        Texas suffer the irreparable harm of nonrecoverable compliance costs. Career Colleges & Sch. of

Texas, 98 F.4th at 235. “[C]omplying with a regulation later held invalid almost always produces the

irreparable harm of nonrecoverable compliance costs.” Texas v. EPA, 829 F.3d 405, 433 (5th Cir.

2016) (quoting Thunder Basin Coal Co. v. Reich, 510 U.S. 200, 220–21 (1994) (Scalia, J., concurring in

part and in the judgment)).

        A plaintiff “need not convert each allegation of harm into a specific dollar amount,” Career

Colleges & Sch. of Texas, 98 F.4th at 236 (cleaned up)—“alleged compliance costs need only be more

than de minimis.” Id. (cleaned up). Even the Department admits that the gender-identity mandate

would require many schools to “updat[e] policies or training materials” and host trainings for

employees and Title IX coordinators at substantial expense, among other compliance-related costs.

89 Fed. Reg. at 33,867, 33,876 (discussing 34 C.F.R. § 106.31(a)(2)); see also Career Colleges & Sch. of

Texas, 98 F.4th at 236 (crediting evidence that plaintiffs would have to “expend more time and

resources to train their staff due to the Rule”). Texas’s declarations confirm the Final Rule would

require it to undertake significant and costly compliance activities to prepare for the August 1, 2024

effective date.

        Texas administers numerous education programs and operates thousands of educational

institutions through its constituent agencies and political subdivisions, including programs and

institutions that receive federal funding and are subject to Title IX and its effectuating regulations.




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Texas independent school districts and Texas public universities are instrumentalities of the State. See,

e.g., Mission Consol. Indep. Sch. Dist. v. Garcia, 253 S.W.3d 653, 660 (Tex. 2008).

        The Texas Constitution charges the Texas Legislature “to establish and make suitable

provision for the support and maintenance of an efficient system of public free schools.” Tex. Const.

art. VII, § 1. Pursuant to this charge, Texas funds, regulates, and oversees the Nation’s second-largest

K–12 public education system, serving over 5.4 million students across 1,200 school districts. Tex.

Educ.     Agency,     Enrollment    in   Texas    Public    Schools   2021-22     at   ix   (June   2022),

https://tea.texas.gov/reports-and-data/school-performance/accountability-research/enroll-2021-

22.pdf. The Texas Education Agency (“TEA”) is a state agency charged by State law to oversee the

State’s public school system’s compliance with Title IX. See Tex. Educ. Code § 7.021. As part of its

mandate, TEA allocates the majority of federal funding for Texas K-12 education. See Decl. of Michael

Meyer ¶ 6, App.001.

        In the 2021–2022 biennium, Texas received approximately $6.6 billion dollars in federal funds

for its K-12 education. Tex. Educ. Agency, 2022 Comprehensive Biennial Report on Texas Public Schools at

239     (Dec.   2020),    https://tea.texas.gov/reports-and-data/school-performance/accountability-

research/comp-annual-biennial-2022.pdf. In fiscal year 2023, Texas public schools received

approximately $9.4 billion in federal funding distributed by TEA and an additional $4.8 billion in

federal disbursements that were allocated by the federal government directly or another intermediary.

See Decl. of Michael Meyer ¶¶ 4–5, App.001.

        State statute requires TEA to operate a number of educational programs directly. These

include “regional day programs” for deaf students and a school network for students with “visual

impairments.” Tex. Educ. Code 7.021(b)(10), (11). The Texas School for the Deaf is a state agency

that provides educational services, on a day and residential basis, to students who are deaf or hard of

hearing. Tex. Educ. Code § 30.051; Decl. of Peter L. Bailey ¶ 3, App.003–004. The school’s

dormitories, athletic teams, and locker rooms are separated by biological sex. Id. at ¶¶ 3–4, App.003–

004. The Texas School for the Deaf relies on federal funding for the services it provides to students

and their families. Id. at ¶ 5, App.004. The school received $1,261,735.00 in federal funds for fiscal


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year 2024. Id.

        Texas also funds, supports, and administers a robust higher education network. Texas is home

to 119 public postsecondary institutions, including 37 universities and 82 two-year colleges and

technical schools. See Tex. Higher Educ. Coordinating Bd., 2020 Texas Public Higher Education Almanac

at     28,       47      (Sept.   28,      2020),          https://reportcenter.highered.texas.gov/agency-

publication/almanac/2020-texas-public-higher-education-almanac/.

        While most States have just one or two public university systems, Texas has six. The largest

of these systems—the University of Texas—has 14 separate locations that educate approximately

256,000 students each year. See About The University of Texas System, The University of Texas System,

https://www.utsystem.edu/about. All told, the State’s entire higher education network includes 148

public institutions and currently enrolls approximately 1.4 million students. See Decl. of Sarah Keyton

¶ 3, App.006–007. Public postsecondary education institutions in Texas received approximately $2.5

billion in federal funding during fiscal year 2022.

        As a condition of receiving federal funding, Title IX protections against sex-based

discrimination apply to state educational institutions. See 20 U.S.C. § 1681. Hence, should Texas, or

any of Texas’s affiliated academic institutions, deviate from the Department’s guidance effectuating

Title IX, that departure would invite enforcement actions at the risk of significant monetary penalties,

up to and including the loss of federal money.

        Public education in Texas depends on federal funds. Institutions that lose their federal funding

will need to eliminate certain educational services if they cannot find alternative funding sources. See

Decl. of Michael Meyer ¶ 8, App.002; Decl. of Peter L. Bailey ¶¶ 6–7, App.004–005; Decl. of Sarah

Keyton ¶ 7, App.007. Texas educational institutions rely on federal funding and will be irreparably

harmed if they lose their funding because of their reliance on 50 years of Title IX practice and legal

precedent interpreting “on the basis of sex” to mean biological sex, not “sexual orientation” and

“gender identity.” Id.

        It is a “fundamental canon of statutory construction” that, “unless otherwise defined, words

will be interpreted as taking their ordinary, contemporary, common meaning” at the time of


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enactment. Sandifer v. U.S. Steel Corp., 571 U.S. 220, 227 (2014) (quoting Perrin v. United States, 444 U.S.

37, 42 (1979)); Scalia & Garner, supra, at 16 (same). No dictionary at the time Title IX was enacted

defined “sex” to include “gender identity” or “sexual orientation.” Adams, 57 F.4th at 812–13.

        Texas, relying on the contemporary (and etymological) meaning of “sex” when Title IX was

enacted, adopted laws, policies, and procedures, and significantly invested in an entire infrastructure

to implement its education systems. The Final Rule upends these important reliance interests and

usurps Texas’s sovereignty by adding “gender identity” and “sexual orientation.”

        The Final Rule refuses to define “gender identity” and “sexual orientation,” nor whether both

fixed and fluid identities and orientations are protected. Its protections for an ever-fluctuating number

of gender identities and sexual orientations, which individuals can allegedly change at any time,

anywhere, and for any (or no) reason, undermines Title IX’s original sex-based protections. See United

States v. Varner, 948 F.3d 250, 256–58 (5th Cir. 2020) (examining bewildering assortment of purported

gender identities and bespoke pronouns).

        Federal funding allocated to Texas’s post-secondary public universities, technical educational

institutions, health-related educational institutions, and community colleges is managed by the Texas

Higher Education Coordinating Board (“THECB”). Decl. of Sarah Keyton ¶ 3, App.006–007. In fiscal

year 2022, Texas public universities received more than $3.8 billion in federal funding; Texas

community colleges received more than $2.1 billion in federal funds; Texas technical educational

institutions received more than $100 million in federal funds; and Texas health-related educational

institutions received more than $1.5 billion in federal funds. See Tex. Higher Educ. Coordinating Bd.,

Sources    and    Uses    Report,     at   https://www.highered.texas.gov/our-work/supporting-our-

institutions/institutional-funding-resources/sources-and-uses/.

        The Final Rule threatens to withdraw federal funding from Texas educational institutions. The

Department may pursue enforcement actions against educational facilities that are out of compliance

with its aberrant interpretation of Title IX and penalize any institution deemed non-compliant by

withholding funds. See U.S.C. §§ 1681, 1682; Decl. of Michael Meyer ¶¶ 7–8, App.002; Decl. of Peter

L. Bailey ¶¶ 6–8, App.004–005; Decl. of Sarah Keyton ¶¶ 6–7, App.007.


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        Complying with Title IX costs Texas money. Texas educational institutions undertake internal

efforts to ensure compliance with Title IX, including federal regulations promulgated pursuant to Title

IX. These efforts involve but are not exhausted by hiring staff to perform compliance reviews,

facilitate the Title IX grievance process, and respond to lawsuits that stem from allegations of liability

under Title IX protections. See Decl. of Rick Olshak ¶¶ 4–5, App.008–009. These and other

compliance efforts incur considerable expense to state educational facilities. The costs of complying

with Title IX will likely increase when the Department adopts new regulations that create additional

requirements or make existing requirements more demanding. See id. These include the administrative

costs due to the increased caseload caused by the Final Rule’s lower standard for harassment, the

extension of coverage to off-campus behavior, regulating covered third-party entities, increased

referrals to the Title IX Coordinators, updating training and educational materials for employees, and

maintaining two different complaint processes. Id.

        Even the Department’s low regulatory cost estimates reveal a substantial monetary burden on

state educational facilities. Overall, the Department estimates more than $98 million in short-term

compliance costs, some of which will fall on Texas schools. See 89 Fed. Reg. at 33,861.

        G. The Final Rule expands liability to Texas and other recipients of federal education
           funds.
        Enforcement of the Final Rule threatens to strip Texas and their Title IX recipients of billions

of dollars in federal support—endangering important programs that serve attendees of the State’s

public schools, special schools, and higher education institutions. The Final Rule makes clear that its

gender-identity mandate and other provisions displace contrary state and school policies. 89 Fed. Reg.

at 33,542. Because Texas has and allows policies that conflict with the Final Rule, it and its components

face Title IX funding losses should the Final Rule remain in place.

        Educational institutions are subject to liability for alleged violations of Title IX. See generally,

Cannon v. Univ. of Chicago, 441 U.S. 677 (1979); Fitzgerald v. Barnstable Sch. Comm., 555 U.S. 246, (2009).

The Final Rule forces a waiver of Texas’s sovereign immunity as to certain regulatory requirements

without its consent. The Final Rule rolls back constitutional safeguards for students while expanding



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recipients’ liability far beyond what title IX allows. These changes are unconstitutional.

         Not only does it reinvent the definition of “sex discrimination” to include “sexual orientation”

and “gender identity” impermissibly, but the Final Rule also expands when, where, and how recipients

must respond to claims of sexual harassment—extending to conduct that occurs online, off campus,

outside the United States, or even before the relevant individuals attended the school. 89 Fed. Reg. at

33,386, 33,527.

         Additionally, the Final Rule amends the definition of “sexual harassment” in 34 C.F.R. § 106.2

to include unwelcome sex-based conduct (1) “that is sufficiently severe or pervasive,” and (2) “that

based on the totality of the circumstances and evaluated subjectively and objectively, denies or limits a

person’s ability to participate in” the recipient’s education program or activity. 89 Fed. Reg. at 33,517

(emphasis added).

         On its own, the redefinition of “sex discrimination” to include sexual orientation and gender

identity increases the odds of academic institutions intruding on protected rights when seeking to

enforce Title IX. But when combined with the other listed changes, the danger becomes especially

acute.

         For example, the Final Rule directly curtails First Amendment and Due Process protections

for Texas students. It does this by lowering he standard for sex-based harassment to a

“preponderance-of-the-evidence” standard; barring accused students from access to evidence,

offering them instead a mere “description” of “relevant” evidence; and permitting recipients to adopt

the investigator model, in which a single “decisionmaker” adjudicates the proceedings as prosecutor,

judge, and jury. See 89 Fed. Reg. at 33,891–95.

         These weakened standards are introduced at the same time the recipient’s liability expands.

The Department thus gives recipients cause to initiate more zealous Title IX enforcement proceedings,

reducing students’ access to a fair hearing when accused of harassment.

         Additionally, compared to the 2020 Rule, the standards advanced by the Final Rule would

create far more opportunities for recipients to inadvertently fall out of compliance. The previous

version of § 106.44(a) required recipients to “respond promptly in a manner that is not deliberately


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indifferent”—something they could achieve if their response was not “clearly unreasonable in light of

the known circumstances.” 2020 Rule, 85 Fed. Reg. at 30,574. Recipients therefore had more flexibility

in how to craft a response that was appropriate to the facts and parties involved. Recipients were also

judged based on the information they had on hand without the benefit of hindsight, which the Final

Rule could allow.

          But the language in the Final Rule unlawfully shifts from the deliberate indifference standard

which requires institutions to take actions reasonably calculated to address allegations to a standard

that requires their actions to be “effective.” 7 Yet institutions do not have an obligation under Title IX

to eliminate discrimination; they are merely obligated to respond in a manner that is not clearly

unreasonable. 8
         The Final Rule greatly expands the scope of Title IX protections, thereby expanding the range

of conduct that could give rise to a lawsuit against Texas educational institutions. See, e.g., 89 Fed. Reg.

at 33,563 (“the recipient need not have incontrovertible proof that conduct violates Title IX for it to

have an obligation to respond,” but rather “if the conduct reasonably may be sex discrimination, the

recipient must respond in accordance with § 106.44” (emphasis added)).

         Because the Final Rule contradicts existing case law, including the departure from Davis, grants

institutions the permission to ditch live hearings, permits a single-investigator model, and revokes the

right to cross-examination—the likelihood that Texas institutions will get sued and lose lawsuits is

significant. Texas schools are placed in a no-win situation—where adherence to the Constitution risks

the loss of federal funds.

         H. The Final Rule infringes on Texas’s sovereignty.
         The Final Rule derogates Texas’s sovereign interests in enforcing duly enacted state laws. See



         7 “§ 106.44(a) (1) a recipient with knowledge of conduct that reasonably may constitute sex discrimination in its
education program or activity must respond promptly and effectively; and (2) a recipient must also comply with this section
to address sex discrimination in its education program or activity.” 89 Fed. Reg. at 33563 (emphasis added).
        8 See Davis, 526 U.S. at 648–49 (“[C]ourts should refrain from second guessing the disciplinary decisions made
by school administrators,” who “must merely respond to known peer harassment in a manner that is not clearly
unreasonable.”) (citations omitted).



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Cameron v. EMW Women’s Surgical Ctr., P.S.C., 595 U.S. 267, 277 (2022) (describing this power as

“[p]aramount among the States’ retained sovereign powers”). Texas’s “inability to enforce its duly

enacted” laws “inflicts irreparable harm on the State.” Abbott v. Perez, 138 S. Ct. 2305, 2324 n.17 (2018);

see also Texas v. United States, 809 F.3d 134, 153 (5th Cir. 2015) (“[S]tates may have standing based on

(1) federal assertions of authority to regulate matters they believe they control, (2) federal preemption

of state law, and (3) federal interference with the enforcement of state law[.]”). Together, therefore,

the injuries to Texas’s financial and sovereign interests are irreparable and should be protected pending

a merits determination.

        Texas has enacted laws to protect sex separation in K-12 and higher education athletics

programs. Texas law provides that “an interscholastic athletic competition team sponsored or

authorized by a school district or open-enrollment charter school may not allow [] a student to

compete in an interscholastic athletic competition sponsored or authorized by the district or school

that is designated for the biological sex opposite to the student’s biological sex.” Tex. Educ. Code §

33.0834; see also University Interscholastic League Non-Discrimination Policy, Const. sub. J (accessed

May     12,    2024)      (policy   segregating     certain    school     sports     based     on     sex),

https://www.uiltexas.org/policy/constitution/general/nondiscrimination.

        The Final Rule prohibits separation based on biological sex in K-12 athletics teams, which

indicates that the Department will investigate K-12 schools for following Texas law and provides that

the Department may sanction the schools by withholding federal funding for complying with Texas

law. See 89 Fed. Reg. at 33,886. Texas law also provides that “an intercollegiate athletic team sponsored

or authorized by an institution of higher education may not allow a student to compete on the team

in an intercollegiate athletic competition sponsored or authorized by the institution that is designated

for the biological sex opposite to the student’s biological sex.” Tex. Educ. Code. § 51.980. The Final

Rule’s prohibition on the separation of education athletics teams based on biological sex will subject

institutions of higher education to investigation (and possibly sanctions) by the Department merely

for complying with Texas law. See 89 Fed. Reg. at 33,886.

        The Final Rule also conflicts with the policies adopted by some of Texas’s political


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subdivisions—pursuant to authority granted by state law—regarding separating school bathrooms and

locker rooms by biological sex.       For example, the Carroll, Frisco, and Grapevine–Colleyville

Independent School Districts require schools owned or operated by the districts to separate

bathrooms, locker rooms, shower rooms, and other similar facilities based on biological sex

determined at birth and correctly identified on a person’s birth certificate. App.018, 020, 027.

        Under Texas statute, independent school districts are expressly authorized to exercise State

power by implementing local policies; the trustees of ISDs “have the exclusive power and duty to

govern and oversee the management of the public schools of the district.” Tex. Educ. Code §

11.151(b).The Final Rule conflicts with each of these policies by treating them as unlawful sex

discrimination and by requiring school districts to change their policies to separate bathrooms, locker

rooms, showers, and changing facilities based on gender identity instead of biological sex to remain in

compliance with the Rule. See 89 Fed. Reg. at 33,886.

        The Final Rule requires using pronouns that are consistent with a person’s gender identity

rather than biological sex, which conflicts with policies adopted by some of Texas’s political

subdivisions and is not required by Texas state law. For example, the Carroll and Grapevine–

Colleyville Independent School Districts have adopted policies that prohibit district employees from

requiring the use of pronouns that are inconsistent with a person’s biological sex as correctly identified

on a person’s birth certificate or other government-issued record. App.019, 021–026.

        The Final Rule conflicts with these policies by treating them as unlawful sex discrimination

and by requiring school districts to change their policies to use pronouns based on a person’s gender

identity instead of biological sex to remain in compliance with the Final Rule. See 89 Fed. Reg. at

33,886. Compliance with the Final Rule would expose the school districts to liability for violating

district employees’ and students’ religious freedom and free speech rights, despite district policies

protecting those rights.The Final Rule explicitly preempts contrary state laws and directs recipients of

Title IX funding to comply with the Final Rule in the event of a conflict with state law. See 89 Fed.

Reg. at 33,885. These injuries are sufficient to establish Texas’s standing.




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III.     The public interest and balance of equities favors Plaintiffs.
            For the reasons given above, Plaintiffs have a strong likelihood of success on the merits and

  confront substantial, imminent irreparable harm—the two most important factors in the analysis for

  preliminary relief. See Career Colleges & Sch. of Texas, 98 F.4th at 239 (likelihood of success on the

  merits); Mock, 75 F.4th at 587 n.60 (same); Spectrum WT v. Wendler, ---F.Supp.3d---, No. 2:23-cv-48,

  2023 WL 6166779, at *14 (N.D. Tex. Sept. 21, 2023) (Kacsmaryk, J.) (irreparable harm). The

  Defendants thus “face[] a high hurdle” in establishing that the remaining two factors weigh against

  granting relief. Kentucky v. Biden, 57 F.4th 545, 556 (6th Cir. 2023). Granting a stay and preliminary

  injunction would serve the public interest by ensuring that Texas may continue to enforce its laws and

  policies without risking the loss of Title IX funding. And the public interest would be served by

  preventing the loss of federal funds to Texas’s educational institutions. See Career Colleges & Sch. of

  Texas, 98 F.4th at 254–55 (5th Cir. 2024) (“Evidence CCST points to in the record shows that a failure

  to stay the Rule would significantly constrain schools’ operations and prevent them from devoting

  resources to educating their students, upgrading facilities, and constructing new ones. The only

  alternative to incurring these costs is for the school to withdraw from Title IV entirely, which would

  be to the detriment of students who rely on the availability of Direct Loans. Such a consequence

  would harm the public at large.”).

            Moreover, granting a stay will merely preserve the status quo pending review. The “status quo”

  is “the last peaceable uncontested status existing between the parties before the dispute developed.”

  Wright & Miller, 11A Fed. Prac. & Proc. Civ. § 2948 (3d ed.) (cleaned up). The Fifth Circuit has held

  that staying an agency action—even after the effective date—preserves the status quo ante and is properly

  imposed via Section 705. Wages & White Lion Invs., 16 F.4th at 1143–44.

            “[T]he maintenance of the status quo is an important consideration in granting a stay.” Barber v.

  Bryant, 833 F.3d 510, 511 (5th Cir. 2016) (quotation omitted). And the “public interest is in having

  governmental agencies abide by the federal laws that govern their existence and operations,” Texas v.

  Biden, 10 F.4th 538, 559 (5th Cir. 2021) (quotation omitted), because “there is generally no public

  interest in the perpetuation of unlawful agency action.” Id. at 560 (cleaned up); BST Holdings, L.L.C.



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v. OSHA, 17 F.4th 604, 618 (5th Cir. 2021). If Defendants failed to satisfy the requirements of

reasoned decisionmaking and abiding the the law, the public interest lies in staying their action.

Defendants may claim fighting discrimination is an important public interest, “[b]ut our system does

not permit agencies to act unlawfully even in pursuit of desirable ends.” Wages & White Lion Invs.,

LLC, 16 F.4th at 1143 (citation omitted).

       Defendants also cannot cannot credibly claim that a delay of the effective date of the Final

Rule is a harm sufficient to outweigh those imposed on Texas, after taking nearly two years to

complete this rulemaking and half a century to reach the novel conclusion that Title IX’s prohibition

of discrimination based on “sex” refers to sexual orientation and gender identity.

                                            CONCLUSION
       The Court should grant this Motion, stay the Final Rule, preliminarily enjoin its application to

Palintiffs, and preliminarily enjoin Defendants from interpreting, applying, or enforcing Title IX

consistent with the Final Rule.




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Dated: May 13, 2024.                         Respectfully submitted.

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                                  C E R T IF IC A T E O F C O N F E R E N C E

       I certify that around 10:45 am CT on May 13, 2024, I conferred by telephone and email with

George Padis, Assistant U.S. Attorney for the Northern District of Texas, about this motion. Via

email at 4:44 pm CT, he forwarded my email request to Elizabeth Tulis at DOJ, the attorney assigned

to this case. At 8:32 pm CT on May 13, 2024, Ms. Tulis informed me that she could not give me an

answer regarding this motion until May 14, 2024.


                                                    /s/ Ryan D. Walters
                                                    RYAN D. WALTERS


                                     C E R T IF IC A T E O F S E RV IC E

       I certify that on May 13, 2024, this document was filed through the Court’s CM/ECF system,

which served it upon all counsel of record. The U.S. Attorney for the Northern District of Texas

accepted service of process on that office via email today, and I served this document via email to

Elizabeth.Tulis@usdoj.gov and George.Padis@usdoj.gov on May 13, 2024.


                                                    /s/ Ryan D. Walters
                                                    RYAN D. WALTERS




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